   Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 1 of 63 Page ID #:1


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Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 2 of 63 Page ID #:2




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Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 3 of 63 Page ID #:3




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     Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 4 of 63 Page ID #:4

                                                                           .-                                         Director:            ..
           .. :.                             _               .
                                                     PRISt~I~ ~.,AW ~FFICE                                          - Donald Specter
                                              General Delivery, San Quentin, CA 949b4                                Managing Atrorney:
                                            Telephone(510)2$0.2621 •Fax(510)280-204                                  Sara Norman
                                                         www.prisonlaw.com
                                               L~-  - --                                                                                            F~:.
                                                                                                                     Sraf~ Attorneys:  _:.
                                                                                                                     Mae Ackermar~&imberg
                                                     -
                                                                                                                     Rana Anabta~vi
                                                                                                                     Steven Fama
   March 2,2017•                                                                                                      Alison Hardy
          --
                                                                                                                      s~ xe~y
   Tremaine Carroll, H-73384                     ~        -                                                           ~~e~ xodt~~k
   CSP—Los Angeles County                                                                                             Margot Mendelson          -
   P.O. Box 8457                                                                                                      M~rd 1`'Iu~hy
   Lancaster, CA 9339-847                                                                                             Lynn Wu


    Dear Mr. Carroll:
                                                                                           A«;nrn atrnv~b t~io~t            T Af~
                                                                                                                  to ~S.'U.~i1     ~
                                                                            w.~bi ~l~r p~a                  a✓L{r VV VI.31
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                    4, X017 . W~ were there ta.mo~tor the ~rison's com`    Pliance with the A;nericans with
      _ _ u~'~1-2
___Febr       ----- _    - - ---                             ~h~~~rn~orrg-~~media~~'1-~
  Disabilities Act(FDA),Armstrong.-court-or ers
                                                                    e concerns vvit~i ~sen~.o~ LAC staff and CDCR
            At tie end of our visit, vie raised sevexal }prison-win
   attorneys. Among ot.~er things, we reported t~iat:
                                                                                ents, includingxo paths oftravel,
           (1)      The prison requires a nurr~ber ofre~nairs or improvem
                                                                                 ~Ve were info~ned -that work orders
                    showers, andlaw l~brar~ access in DS and the ASU.                                                ,~.
                                                                                   ~~[~ rzcre~~~n ~arcis. _..
                    :~~~r~ ~~~~~et~.for ~t~ater proule~~s in t~~ ~~.^.'_~s of*.~Le
                                                                             a~iout d~isabi~ity issues and the ADA
           (2)       Sta,f~`'und ADA .worlters require addi#ional training
                                                                              FDA workers v~ill receive additional_.
                     worker program. ~Ve were informed that s~af~ aid
                     training soon.
                                                                                                   ---- - _ --
                                                    xinis trative s~ e  crtion, theirP ro
                                                                                        ~   rtY  inclu
                                                                                                (~       ding r~ssistive ~- - --
             ~3)     -When.Peo1~le are serf# ~o                     ~' g
                                                                                a t~mely,~ashion. ~Ve expressed
                     devices) sometimes is lost or mot returned to them in
                                                                               p~ap~rty or assistive devices when a
                     concern that there is nU reliable sys~e~ fir tracking
                      person is transferred to D~5 or -the ASU.
                                                                                 toforms, including 18~24s, or pens.
            (4)      People in DS ~xnd ASUsome~i~es ado not have access
                                                                                   people w~io arrived at LAC in
            (5)        The orientation manuals at R&R are o~ct ofdate, and some                             ``~,.
                                                                             n or an orienta~~on manual.
                       the lastfew montl3.s reportednot receiving orientatio
                                                                           e~ repair. We were infonn~ed that
            (~6)       There is no reliable systemfor wheelchair and wa~k
                                                                          loping a system ~o improve tie
                       staff curren~ly are reviewing the problem and deve
                       wheelchair and v~alker repair process.
                                                                                            ility vests, wheelchair gloves, and
            (7)        The medical clinics were missing items, such as disab
                                 ~         ..                                                   been or.would :be laced for
                       w                                                                                         .. ..
                       these items. .
                               __                                                                    -
                                                                                                                                       r
                                                                Board of Directors
                                      Penelope Coope   r, i'resid ent•l~iichele WalkinHawk, Vic;: i'resident
                                                                                               aret Johns
                                        ~+iarshall Krause, Treasurer • C'iristiane Hipps •Marg
                                                                      ael Marcu   m •Ruth Morga n •Dennis Roberts
                              ~xsar L~leva •Laura Mag~ani •Mich
                   Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 5 of 63 Page ID #:5

                                                                                               _.
                   _.
                          After we review our notes and other documents, we will'send CDCR a detailed report on these-
                                                                                                                   to remedy
                  and~oti~er problems. We will continue to monitor LAC closely,.and we will work with CDCR
J"



}~ : .
                                                                             :,.
                  issues that affect Armstrong class members.
     - z~-   .:                                                                  _ _~~          .
                    ~- - If you need help for your disability—or if you believe. that  you are being discriminated against
                                                                                             forms should  be in all housing
                  because of your disability—please complete a yellow 1824 forma Blank
                                                                                                                    write to us
4~                buildings, end you can put them in the appeals box. Ifthat does not resolve your issue, please
                                                                                                           are fine.                   -
                  and send us a copy of your appeal and the response you received. Handwritten copies
                                                                                                                       of
                          Our office also monitors issues related to medical care, mental health care, and treatment
                                                                                                        Asa .result, you can
                  prisoners with intellectual disabilities under t~iie Plata, Coleman, and Clark cases.
                                                                                                              to an               ..
                  write to us if you have concerns about medical care, mental health care, or issues related
                  intellectual disability.
                                                               I wish you.the best.
                                       _ for speaking with me.
                          Thank you again                                                           7
                                                                                                           ~ _
                                                                 Sincerely yours,



                                                                 vita Lomio
                                                                 Staff t~~torney


                  Enclosures:     N~n.~,
                  Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 6 of 63 Page ID #:6

                                                                                                                                              v
                                    MODATION PANEL (RAPT RESPONSE
        -~SONABLE ACCOM
      REA
      -                                                                                               _             - -
      RAP Meeting Date:1211912017          ~    Date IAC Received 1824:12/18/2017             -1824 Lod  Number:   LAC-~1~ J.-06322
      Inmate's Name: Carroll, T.                           CDCR #: H73384                      Housing: D4-123
                                                                                                                         , A. Bayliss, Health
               ff Pr sent: E. Jordan AW ADA Coordina#or, Dr. T. Engels, Psyc~iologist, A. Blain, Chief Medical Executive                  -I-,----
                                                                                                                                     toy-EC
      Care Compliance Analyst, K. Estrada, AGPQ Inmate ~4ppea s,             na, ea     are ppea
      A. Collins, M&SS II, J. Buendia, Licensed Vocational Nurse, K. Bar~elmie AW ADA OT.

                                                                                                             access the restroom on the yard
      Summary of Inmate's 1824 Request: Inmate Carroll states he is not able to exercise on the yard, or
                                                                                                                 due to there being no ramps. _
      because Facility D is not ADA complian#. !fie skates he fell on D Yard trying to access the water fountain
      Inmate Carroll is requesting to be accomr~odated~by having Facility D-become ADA compliant.
      interim Accommodation:
              No interim accommoda~iorr required: No Irreparable Harm                                       -

      ❑       Interim Accammoda#ion provided (Lis~accomrnodation and date provided):
      ❑         RAC' rescinding interim acco~moda#ian:


      FINAL RESPONSE: PARTIALLY APPPiO~IED


      RAP is able to render a final decision on the following:
                                                                                                                     te medical attention for the..
      Response: CCI So#a interviewed you on 12~19~/17~a# whic~i time you stated that yo~t have received appropria
                                                                                             of the master  plan.    This construction includes
      fall you described in your request. LAC is currently undergoing construction as part
                                                                                                    o~ travel.  Additional ly your current DPP
      path of travel around the yard, Facility `a' is nest to begin construction in regards to path
                                                                                                               staff and  an ADA worker will be -
      status can be accommoda#ed here a~ LAC,- if you reQuire assistance accessing programs please inform
      assigned to assist you in accessing.programs or areas of the yard you wish to ~cess.

                                                                                                                             a CDCR 60~ ar 602HC
_ _     Direction i~ dissa#isfied: If you disagree with phis cteecision and want to file an~appeal, be scare fill out submit
                                                                                           copy of this response    along with your CDCR 1824 ~
       (due -sectionsA -~ B) within- 30 days-of-this-response dale and attach a
       ~up~or~ng documeFlts.
 ._ ~:
-.~-                                                         -------- ------ - - -
~,:
        ~„
        N.
                                                                                                                -..




                                                                                                          Date sent#o inmate: 12121/17
   ~~. AW E..JORDAN
E. ~ ADa Coordinator                                           re




                                                                                                                      RAP Response -rev 10-27-15.doac
        Page 1 of 1
                  Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 7 of 63 Page ID #:7
     STATE OF CALIFORNIA                                                                                    DEPARTMEW~ OF CORRECTIONS AND REHABiLI'FATtON
     REASONABLE ACCOMMODATION REQUEST
     CDCR 4824(Rev. 49/17}
u,       t                                                                               .z                                               Page 1 of 1
      tNSTITUTiON (Staff use only)                       LOG Nl1MBER Staff Use(only)                            -    DATE RECEIVEQ BY S~'AFF:

        _.   ._    ~~~~
                      _                                             ~~~0 ~~~

                                        . ,t.                                                                 ~~ .
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        r                            ., .                                     R                ~~      x.
                                                     ~                       ~.    ~ . -:                                                                   _
                   ... ~ .t         ~ =                                                            .~.
      INMATE'S NAME `Rrint)                                ~        CDCRI~El ~                ASSIGNMENT                         HOUSING
       TREMAINE I~. CARROLL                                          H- 7         ~~            E.O.P.                          D4/123
     I NSTRUCTIONS:
     • You may use this form if you have a physical or mental disability or if you believe you have a physical or mental disability.
     • You may use this form to request a specific reasonable accommodation which, if approved, will enable you to access and/or
        participate in a program. service or activity. You may also use this form to submit an alFegation of disability-based discrimination.
     • Submit this form to the Custody Appeals OfFce.
     • The 1824 process is intended for an individual's accommodation request. Each individual's request requires acase-by-case review.
     • The CDCR 1824 is a request process, not an appeal process. All CDCR 1824 requests will receive a response.
     • If you have received an 1824 decision that you disagree with, you may subrrrit an appeal(CDCR 602, or CDCR 602-HC if you are
        disagreeing with a medical diagnosis/treatr~e~tt decision).

      WHAT CAN'T YOU DO /WHAT IS THE PROBLENt?
                   The. problem is I am not able to exercise an_the_yard, ____
        access the restroom- on -the yard because CSP-LAC- -facility - II - ----- -- - - -- - --- -
         ard is not ADA desi ned.           ~ bIV ~ ~   .~              ~ ~



      WHY CAN'T YOU DO I~?                 ~ {   -             __                                                                   _


                    The reason I can't do it is because I am restricted
        to a wheelchair, I am mob~il~t impaired.'

      WHAT DO YOU NEED?

                    I request to be accomodated in tie form of havins~
        CSP-LAC-Facility D yard become in compliance Frith ADA
        guidelines so I can:ex_ercise o~ _the yard and use the restroom.
        There need to be a sidewalk bLilt so T Gan a~ce~~ the rP~trnnm
        and exercise eaui~ment.
                                                                                                    (Use the back of this form if more space is needed)_


      DO YOU HAVE DOCUMEaTS THAT DESCRIBE YOUR DISABILITY?                                                  Yes ~        No ❑       Not Sure ❑
      List and attach documents, if available:



       understand that staff have a n~o int - wore                      e             my failure to cooperate may ca se this request to be disapproved.
                                ~ r
                                                                                                               Z1         ~
                                      INMATE'S SIGNA~U                            -                            AT SI      ED
      Assistance in completing this form was provided by:


                     Last Name                                        First. Name                                         Signature _ =                 _   .   a
         Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 8 of 63 Page ID #:8




                    Version 4.8.1.1


Release Note
                                                                                                     ~~+M~.~           ~~~~.Vµ                     _~
 Summary Bed Inventory ' ADAIEC History s                            ~~~
                                                                                                   Generate Reports /Get Help I Report a Problem Log O~

CDC#: H73384              r                           CDC Rlumber: H73384, CARROLL,TREMAINE DEON


   Summary
    O€fender/Placement                                DisaMillty/Assistance
     c~c ~:           H73384                          ~~ code: NDD
     Name:            CARROLL~                        Effective   ~ Q~09/2003
                      TREMAINE DE4N                   gate:
     Institution:     California State                ~~ ~s~ DPO [H~story)
                      Prison, Los Angeles             ~,aa5 Dare: ~O/30/2O~t
                      County. _ - -                   MF+sos      EOP
     sed Code:        D 004 112-3001L                 ~e7
     Placement        114                             5~:
    1 Score:- -- -- - - - - -- - -
                               _--                    primary___
                                                      Method:                         -- —     -
                                  '
      Custody         Medium A                        Alternate
    s Level:                 ~                   `    Method:
                                                                                                                -- -   --                              ~   ~
    ~ Housing Pgm. EOP - Enhncd Out                   Leaming                                        r~v~ R~ rva.a~w~~~ rir►
                     Pt Prog                          ~~~'~i~':
                                                      TARE Score: 12,9                              1
       Housing       Ground FFoor-NO                                                                                                         +
    j Restrictions:                                   TARE Date:   f2/16/1999                      ! Group Priv:
                     Stairs,
                     Lower/Bottom                     ourat~e                                          Group W ork•                         ~',
    ~                                                              Eye Glasses        [Info}
                     Bunk Only          ~             Medical                                          Start Date:.
       Pnys~i                                                                                      } status:
                     Limited Wheelchair               E~ip~~~
                                                                   Read/SQeak                                                               f
       umitations to User No RooftoP                  ~~
                                                      Accomm:                                      s }ob Position:
       Job/Other:         i                                        g~owty/Use                          Job Title:                           I~
     ~               Work,PEaMANENT                                ~~p~e
                                                                                                      IWTIP Code:                             ~
                     12-31-9999' Months ~                          Lany uagQ, Staff                ~ . EWTIP Descript(on:        '
                                                                   Assistance                          Regular Day Off:
                                                      Spoken
                                                      Languages:
                                                                                                       Work Hours:                           1E
                                                                                                                                             i

                                                                                                                     -                       i
     - r~a.a.v~~nnvuo~w~~ n~aw~ y                                                                                                            I

          10/21/2014                          Classification Hearing      Read/Speak5lowlyJU~e"Simp{e Language, Staff -.-- _-
                                                                          Assistance                                                             ~

           07/22/2014                         Classification Hearing      Read/Speak Slowly/Use Simple Language, Staff
                                                                          Assistance                                                          i
           05/30/2013                         Classification Hearing      Read/Speak Slowly/Use Simple Language

           01/10/2013                         Classification Hearing      Read/Speak Slowly/Use Simple Language
                                              Classification_Hearing      Read/Speak Slowly/Use Simple Language                                   ~
           08/23/2012
           05/31/2012                         Classification Hearing      Read/Speak Slowly/Use Simple Langu-age

         ~- 04/29/2009                        Classification Hearing      Read/Speak Slowly/Use Simple Language, Staff
                                                                          Assistance                                                              ~`
                                          _




 ttr,•          n         1          v.                                                                                                12/18%2017
             Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 9 of 63 Page ID #:9
                                                                                      Page 1 of 1
M me: CARROLL, TREMAINE D.                                                           CDC #: H73384 PID #: 11690702

                  p;sability/Accomm odation Surd-maryMon~ayDecember 18,
                                                                        201710:2:
=13S035C~pp

                                                As of: 12/18/2017~               "



                     OFFENDER/PLACEMENT                                     DISABILITY ASSISTANCE
                           CDC#: H73384                                            DDP Code: NDD
                                                                                 nDP Adaptive None
                               Facility: LAGFacifity D                            Support Needs:
                   Housing R~ea,~BecF: D 004 1/123001L-                      DDP Effective Date: 10/09/2003
                    Placement Score: 114                                               DPP Codes: DPO
                 Custody Designation: Medium (A)                       DPP Determination. Date: la/30/2017
                    Housing Program: Enhanced Out Patient                           MHSDS Code: EOP
                                                                                    SLI Required: Undetermined
                 Housing Restrictions: Ground Fioor-No Stairs
                                         Lower/Bottom Bunk Only                   Interview.Date: 10/30/2017
    Physical Limitations to Job/Other: Limited Wheelchair User                  Primary Method:
                                         No Rooftop Work                       Alternate Method:
                                         Permanent - 12/31/9g9~9             Learning Disability:
                                                                              Initial TARE Score: 12.9
                                                                               Initial TARE Date: 12/16/1999.
                                                                     Durable Medical Equipmerrt: Eyeglass Frames
                                                                             Languag-es Spoken:



                               IMPORTANT DATES                                       WORK/VOCATION/PIA
              Date Received: a5/lg/1993                                                   Privilege Group: A
                                                                                              Work Group: Al
         Last Returned Date: 10/Qfi/1999
                                                                                        AM Job Start Date:
               Release Date: 12/28/2025                                                            status:
               Release Type: Minimum Eligible Parole ^~'~~
                                                                                               Position #
                                                                                             Position Title:
                                                                                         Regular Days On:




                                                                                                          12/18/2017
   %/fC:/LJsersnackle/AppData/Local/Temp/MPEVDED8.htm
           Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 10 of 63 Page ID #:10
                                                                                      Page 1 of 1
"ame: CARROLL, TREMAINE D.                                                CDC #: H73384 PID #: 11690702

H5S035B~        ~      DPP Disabi:,l~i-t /AccorrrmodationMondayDecember18,201710:i2:13AM
        Date of Form: 11/16/2017         ~       ~                         Time: 18:34:55

        Staff Name: Amos onnie
       Type of Form: Durable Medical Equipment                       Data Source: Millennium


Durable Medical Equipment(QME)
                                                            Expiration               Re-Evaluation
             DME                         Duration             Date
        Eyeglass Frames                  Permanent          12/31/9999      ~               No


— Items Removed -
 None


 Non Formulary AccvmodativnsJComments

                                                     Nane
            Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 11 of 63 Page ID #:11
                                                                                       Page 1 of 1
ame: CARR4~L, TREMAINE Q.                                                                CDC #: H73384 PID #: 11690702

H~S035B~            ~ ~'"   DPP Disab~lit /Accommoda~~on                                           _                  --       Y
                                                                                            Monday December i8, 2017 10:1~;2Q AM



           - Date.of Form: 10/30/2017                                   ~            Time: 13:06:09

            Staff Name: Moyle loanalyn
           Type of Form: Accommodation Chrono                                  Data Source: Millennium


 Housing Restrictions
                                                                            Expiration                 Re-Evaluation
              Restriction Type                      Duration                  Date
                                                    Permanent               12f31/9999                        No
Ground Floor-No Stairs
                                                    Permanent               12/31/9999                        No
 Lower/Bottom Bunk Only ~

 Physical Limitations to Job/Other
                                                                                Expiration              Re-evaluation
        Physical Limitations            Qualifier         Duration                Date
                                                          Permanent             12/3.1/9999                     No                 ~
 Limited Wheelchair User
                                                          Permanent             12/31/3399                      No
 No Rooftop Work


— Items Removed
 Limited Wheelchair User,No Rooftop Work,Ground Floor-Limited Stairs,LowerfBottom Bunk Only


 Nfln Formulary Accomodations/Camrnents
                                                        None




file:///C:/Users/lackle/AppDat~/I.oca~/Terrlp/OZR4JKM l.htm
          Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 12 of 63 Page ID #:12
 HSS035B -DPP Disability/Accommodation                                               Page 1 of 1
ame: CARROLL, TREMAINE D.                                                                      CDC #: H73384 PID #: 11690702

~ H~50358~ -      ~   --    DPP ~~sabilit
                                                          /AccommodationMondayDecember18,2017fa:12:47AM
               Dade of Form: 10/30/2017                           -                         Time: 13:06:04

                 Staff Name: Moyle JoanaFyn
               Type of Form: DPP Verification                                        Data Source: Millennium


 DPP Disabilities                                    '
     Type                                                   Permanent Disabilities

    Mobility          DPO-Intermittent Wheelchair User Impacting Placement

    Hearing
     Vision
    Speech.
     Kidney


__
 — Equally Effective Communication for Hearing/Speech     Impaired
                                                    _ _- - -- --------- - -_ _ - -      _    _. _--   ___
   Requires Sign Language Interpreter: Undetermined

                                 Effective Communication Method                                             Language
        Primary:
       Alternate:



 H:ousina Restrictions
                                                                                     Expiration              Re-Evaluation   ~
                 Restriction Type                         Duration                     Date

 Ground Floor-Limited Stairs                              Permanent                  f2/3t/9999                   Yes

 Lower/Bottom Bunk Only                                   Permanent ~                12/31/9999                   Yes


— Items Removed -
 None


 Nan Formulary Accomoda#ionsJCommen#s

                                                              None


                                                         Prior Page


                                                  Show Last Updated Information




ittus://eorriis.cc~cr.ca.~ov/eorriis/servletfcoin.marquis.eomis.EomisControllerServlet?task=com~nonhealths... 12/18/2017
               Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 13 of 63 Page ID #:13

                                                                              ONSE
    REASONABLE ACCOMMODATION PANEL (RAP1 RESP
                                             Date lAC Received 1824:12118/2017              1"824 Log Number: L.~►C-D ;~7.~6321
-   I~AP Meeting Date:12119/2Q17
                                                        CDCR #: H73384                      Housing: D4~~23                --
    Inmate's Name: Ca~rolt, T.
                                                                       Psychologist, A. Blain, Chie#-Medical Executive,. A. Bayliss, Health
    RAP Staff Present: E. Jordan, AW ADA Coordinator,. Dr. T. Engels,                   r~4pp~als~ear~ir~a~e~esi~flee;Ally~e}~~,        ;   -----
      arse omp lance na s ,       s
                                                                         rme AW ADA OT.
    A. Collins, M&SS u, J. Buendia, Licensed Voca#ional Nurse, K: Bar~el

                                                                            navigate around in his wheelchair or walker (he hasn't received
    Summary of inmate's 1824 Request: Inmate CasroN dates he can't
                                                                           ting to have photos taken of Facility D showing there's no clear.
    yeti because Facility D isn't ADA compliant. In~tat~ Carroty is reques
    passage way at all. He is also requesting to be transferred to RJD.
     Interim~Accommodation:
             No interim accom~noda#ion required: No Irrep~able Harm
             Interim Accommodation provided (List accom~oda~ion and date providedj:
    ❑         RAP rescinding interim accommodation:


     FINAL. RESPONSE: NOT APPROVED
                                  _ _
                                                                                               _ __             __     _ _ __       __ _ _-
                                                                                                                            -
     RAP is able to render a final decision on the following:
                                                                                     plan. This construcfion includes path of travel around the
     Response: LAC is currently undergoing construction as part of the master
                                                                                   Additionally your current DPP s#atus can be accommodated
     yard. F~ility'D' is nest to begin construction in regards to path of travel.
                                                                                     staff ark an ADA wortcer will ~ assigned to assist you in
     here at lAC, rf yon require assistance accessing programs please inform
                                                                                  t for transfer- is not approved.
     accessing programs or areas o~ the yard you wis~i to access Your reques

                                                                            to fife an appeal, be sure fill out submit a CDCR 6Q2 or 602HC
     Direction if dissatisfied: If you disagree with iris decision and want
                                                                          attach a copy of this response along with your CDCR 1824 as
    (Blue — sections ~ ~ B) within 30 days of this response date at~d
    supporting documents.




                                                                                                        Date sent to inmate: 12/21/17
      AW E. JORDAN
      ADA Coordinator                                         re




                                                                                                                       ~~ ~




                                                                                                                RAP Response -rev 10-2?-15.docx
       Page 1 of 1
                      Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18DEPARTMENT
                                                                           Page 14    of 63 Page ID #:14
                                                                                    OF CORRECTIONS AND REHABILITATION
STATE OF CALIFORNIA
REASONABLE ACCQMMODATION REQUEST
C'DCR 184(Rev.09/17)
                                                                                                                                                                                                                                                                                                     -..-
                                    1                r_                 •                                                                      •                                                r.                 -•                                                          t                ~



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                                                                                                  K:R.`            ..~...:.. .
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                                                                                                                                                           ;~..,,..
                                                                                                                                                                   ~. ~.             ~.A.i~. ~b:R..:.....
                                                                                                                                                                        ._....___ .. .. k. .~~'.,         ~,~:...sw.~...:           ., r~`:_.... ~~   ~?::.. ., n   N4~-~y




    INMATE'S NAME(Print)                                                                                                                                 CDCR NUMBER                                                                  ASSIGNMENT                                          HOUSING


  I NSTRUCTIONS:
  • You may use this form if you have a physical or mental disability or if you believe you have a physical or mental disability.
  • You may use this form to reques# a specfic reasonable accommodation which, if approved, will enable you to access and/or
     paficipate in a program, service or activity. You may also use this form to submit an allegation of disability-based discrimination.
  • Submit this form to the Custody Appeals Office.
  • The 1824 process is intended for an individual's accommodation request. Each individual's request requires acase-by-case review.
  • The CDCR 1824 is a request process, not an appeal process. All CDCR 1824 requests will receive a response.
  • If you have received an 1824 decision that you disagree with, you may submit an appeal(CDCR 602. or CDCR 602-HC if you are-
     disagreeing with a medical diagn~sis/treatment decision).

    WHAT CAN'T YOU DO / WHAT I THE PROBLEM?                                                                                                                                                                       6                        -                ~
                                                                                                                                                                                                                                                            '                                       ~~

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                                                                   L                                   ~                                                                                        ~                                            (Use the back of this form if more space is needed)

    DO YOU HAVE DOCUMENTS THAT DESCRIBE YOU~i DISABILITY?                                                                                                                                                                                                    Yes                   No ❑        Not Sure ❑   -
    Listand attach documents, if available:                                                                                                                                   ~                                                                                                    ~~~



         understand that staff have a righ to interview or                                                                                                                           ,and my failure to cooperate may cause this request to be disapproved.


                                                                                                INMATE'S S!G                                              TURE                                                                                                 DATE SIGN D
    Assistance in completing this form was provided by:


                                              Last Name                                                                                                               First-Name                                                                                                   Signatufe




                                                                                                                                                                                                                                                                                                                ~1
       Case Details
    Offender 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 15 of 63 Page ID #:15
                                                                             Page 1 of 1
    D




                                   Version 4.6.1.1


        Summary ; Bed Inverrtory ADA/EC History
                                                                                                                   Generate Reports /Get Help / Report a Problem L
        CDC#: H73384                                                    CDC Number: H73384, CARR4LL, TREMAINE DEON


           Summary
                    Offender/Placement                                  Disability/Assistance                       Important Dates
                  CSC ~:            H73384                             ~~P Code: .NDD                               Pending Revocation:         No
               I~ Name:             CARROLLt                           E~Ve       10/09/2003                        Revocation gate:
-              1                    TREMAINE DEON                      gate:
                                                                                                                    Date Received in CQCR:      05/19/1993
                   Institution:     CaIlf01'111a Stag                  DPP Codes: DPO [History]
                                                                                                                    ~~ Return Date:             10~06/1~99 ,
               ~                    Prison, Los Angeles                1845 Date: 10/30/2017
               ~                    COU~f~                                                                          Extended Stay Date:         01/04/2000
                                                                       MHSDS      Epp
                   Bed Code:        D 004 1123001L                     code:                                        Extended Stay Privileges?
                   Placement        114                                Ste:                                           Release Date            12/28/2025
                   Score:. - -                           ___ --- --    ~mary
                                                                       Method:-     - ---- -- --__   __ ___ --      - 120 Day Date - --- -- - 08/3/2025. ~
                   custody _                              _, _ _                      __                    _. ._ _     _ _ ._ .
                                    Medium A                           Alternate                                    Next IDST Date:
                   Level•                                              Method:
                   Housing Pgm: EOP - Enhncd     Out-                  ~earn~ng                                     Work/Vocation/PEA
                                    Pt Prog                            ~isat~uty:
                   Housing                                             TABE Score: x,2.9                            1
                                    Ground Floor-No
                   Restrictions:                                       TABS Date:
                   _                Sta1rSi                                           12/16/1999                     Group Priv:                             ~
                                    Lower/Bottom                       Durable        Eye Glasses        [Info}      Group Work:                             i
           ~                        Bunl~~Only                         M~i~                                          Start pate:
                                                                       Equipment:
                   ~vs~~i           Limited Wheelchair                                                               status:
                   Limitations to
                                    Useri No RooftoP                  ~              Read/Speak
                   Job/Other:                                         Accomm:                                        Job Position:                           3
                                    Work, PERMANENT                                  Slowly/Use
                                                                                                                     Job Title:
                                    12-31-9999 Months                                Simple
                                                                                                                     ~wrtP Code:                             ~
                                                                                     Language, St7ff                 yyynp Description:
                                                                                     Assistance
                                                                                                                     Regular Day Off:
                                                                       Spoken
                                                                       Languages:                                    Work Hours:



           ~ Accommodation History
                       1Oj21/2014                             Classification Hearing         Read/Speak Slowly/Use Simple Languaje, Staff
                                                                                             Assistance
                       07/22/2014                            Classification Hearing          Read/Speak Slowly/Use Simple Language, Staff
                                                                                             Assistance
                       05/30/2013                            Classification Hearing          Read/Speak Slowly/Use Simple Language
                      01/10/2013                     _       Classification Hearing          Read/Speak Slowly/Use Simple Language
                      08/23/2012            -                Classification Hearing          Read/Speak Slowly/Use Simple Language
                      05/31/2012                             Cl~~si~cation Hearing           Read/Speak Slowly/Use Simple Language

           E
                      04/29/2009                             Classification Hearing         Read/Speak Slowly/Use Simple Language, Staff
                                                                                            Assistance




    http://decinternaUdppv.aspx                                                                                                      ~                12/18/20.17.
           Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 16 of 63 Page ID #:16
                                                                                         Page 1 of 1
 Name: EARROLL, TREMAINE D.
                                                                                                 CDC #: H73384 PID #: 11630702
 CHS5035CDPP.
                     Disability/Accommodation Swm.maryMondayDecembe~-18,201710:1:
                                                  As of: 12/18/2017


                         OFFEND@R/PLACEMENT                                                DISABILITY ASSISTANCE
                                  CDC#: H73384                                                   DDP Code: NDD
                                  Name: CARROLL, TREMAINE D.
                                 Facility:. LAC-Facility D                                   Support Needs:
                     Housing Area/Bed: D 004 1/123001L                                   DDP Effective Date: 10/09/2003
                       Placement Score: 114                                                       DPP Codes: DPO
                   Custody Designation: Medium (A}                                 DPP Determination Date: 10/30/2017
                      Housing Program: Enhanced Out Patient                                    MHSDS Code: EOP
                   Housing Restrictions: Ground Floor-No Stairs                                SLI Required: Undetermined
                                           Lower/Bottom Bunk Only                            Interview Date: 10/30/2017
      Physical Limitations to fob/Other: Limited Wheelchair User
                                                                                            Primary Method:
                                           No Rooftop Work
                                                                                          Alternate Method:
                                          Permanent - 12/31/9999
                                                                                         Learning Disability:
                                                                                         Initial TABE Score: 12.9
                                                                    -       i             Initial TABE Date: 12/16/1999
                                                                                Durable Medical Equipment: Eyeglass Frames
                                                                                        Languages Spoken:


                                IMPORTANT DATES                                                 WORK/VOCATION/PIA
               Date Received: 05/19/1993
                                                                                                      Privilege Group: A
          Last Returned Date: 14/06/1999                                                                 Work Group: Al
                Release Date: 12,~28/2f125                                                         ANA Job Start Date:
                Release Type: Minimum Eligible Parole Date                      _ _   __                       Status:
                                                                                                           Position #
                                                                                                        Position Title:
                                                                        .                           Regular Days On:




ile:~//C:/Users/tackle/AppData/Loca1/Temp/MPEVDED8.htm                                                            12/18/2017
            Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 17 of 63 Page ID #:17
                                                                                         Page 1 of 1
  Name: ~ARROt,~L, TREMAINE D.                                                                     CDC #: H73384 PID #: 11690702
  "554356                  Dpp D'tsabili-~ .~-Accommodation                                             Monday December18,201710:12:13yAM


           Date of Form: li/16/2017                                                                 Time: 18:34:55
                 Facility: LAGFacility D [LAC-D]

           Type of Form: Durable Medical Equipment                 ~                          Data Source: Millennium


   Durable Medical Equipment(DME)

                 DME                          Duration                           Expiration
                                                                                   Date                        Re-Evaluation
           Eyeglass Frames                    Permanent                          (2/31/9939         ~                 No

     azems rcemvvea
     one


   Non Formulary Accornodations/Comments

                                                               None

                                                                           ~ _
                                                          Prior Page


                                                   Show Last Updated Information




:
ile:///C:/Users/tackle/AppData/LocaUTemp/OPG238X6.htm                                                                      12/18/201?
             Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 18 of 63 Page ID #:18
                                                                                          Page 1 of 1
Name: CARROL~, TREMAINE D.                                                                                                 CDC #: H73384 PID #: 11694702
C~IS$0358_ -_   _          _   -~pp             Q_iS~       ~~ ~~~     /~ccom
                                                                                                   modat~or~Monday                    December 18, 2(~~7 10:12::20 AM


             Date of dorm: 10/30/2017                                                          ~       ~                  Time: 13:06:09
                   Facility: LAGFacility D [LAC-D]
                a     ame: oy e oana yn
             Type o~ Form: AccammocFation Chrana                                                                 Data Source: Millennium


  Housing Restrictions

                Restriction Type                                                                           Expiration.
                                                                      Duration                                                    ~      Re-Evalua#ian
                                                                                                             Date
 Ground Floor-No Stairs                                               Permanent                            12/31/9999                            No
 Lower/Bottom Bunk Only                                               Permanent                            12/3 /9999                            No

 Physical Limitations to lob/Other

          Physical Limitations                            Qualifier                                                  Expiration
                                                                              Duration                     -------                        Re-evaluation
                                                                                                                      -bate—      —

 Limit~d Wheelchair User                                                     Permanent                           X2/31/9999                        No
 No Rooftop Work                                                             Permanent                       ~   12/31/9999                        No


   items rtemovea
  Limited Wheelchair User,No Rooftop Work,Grounct Floor-Lirt~ited Stairs,LowerfBottom Bunk Only


 Non Formulary Accomodations/Comments
 __   __ _ __ ---------------___.—   -------_   .._____                    None


                                                                       Prior Page.       -:.       ~." .

                                                               Show Last Uada~ted Information
         Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 19 of 63 Page ID #:19
CHSS035B - DFP Disab~Ht~/Accommodation                                                Page 1 of 1
Name: CARR~'~Y~,TREMAINE D.                                                                                CDC #: H73384 PID #: 11690742
~HSSo35B              -~      DPP Disa bi1it                /~~ca                    m modation                Monday December 18, 2017 10:12:47 AM ,


                 Date of Form: iQ/30/2017                                                                Time: 13:06:04
                       Facility: LAGFacility D [1~4C-F}]                                                                                 ~        -

                 Type of Form: DPP Verification                                                   Data Source: Millennium


 DPP Disabilities
     Type                                                        Permanent Disabilities
    Mobility          DPO-Intermittent Wheelchair User Impacting Placement
    Ffiear'rng
     Vision
    Speech
    Kidney



   ~_.-_u_- mss--a=--_ i._.Y.~..~=--a.e-~ r_~ u__~e__ i~  .~---~ ~~---'---'
   ~yww~~~ ~~~GrL~rG VV~~~~/~N~~~\ri~L~V~~ ~v~ r~ca~~~~y~.7Ncca.~~ i~~1~7q~ICY

  Requires Sign Language Interpreter: Undetermined           ~    ~ - - -~ -~~ - - -- ----- ~"-

                                  Effective Communication Method                                                       Language
        Primary:
       Alternate:



 Housing Restrictions

                   Restriction Type                                                               Expiration
                                                            Duration                                                     Re-Evaluation
                                                                                                    Date
 Ground Floor-Limited Stairs                                Permanent                             12/31/9999                    Yes
 Lower/Bottom Bunk Only                                     Permanent                             12/31/9999                 - Yes


   Items Removed                                                                                                                             '~
  None


 Non Formulary Accomoda#ions/Comments

                                                                 None




ittps://eomis.cdcr.ca.gov/eomis/servlet/com.marquis.eomis.EomisControllerServlet?task=commonhealths... 12/18/2017
       Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 20 of 63 Page ID #:20
  .~                                                           _                                                                ~/
                                                                                                                                 ♦~

 f~tEASONABLE ACCOMMODATIQN PANEL ~~tAPa RESPONSE
  RAP Meeting bate: 2l14~20~8_              Date IAC Received 1824: X19/2018           1824 Log Number: LAC-D-18-00839
 Inmate's Name: Carroll, T.                           CDCR #:H73384                     Housing: D4-a 23
 -RAP, S~$~f-Present: E. Jordan., AW ADA Coordinator, Dr. T. Fn9els, PsYchola9ist, K. Estrada, A.GPA Inmate_ ApPeals Office,
  M. ~llijangosi°Heal#h Care Appeals Coordinator Designee, M. Soto, CCI, G. Hernandez, Chief Medicaf~~xecutive (A), A. Frazier, CCII
 CAMU,6: Ve)c; Office Technician, J. Buendia, Licensed V~cafional Nurse, D.:Denault, Medical Stwdent, Afra, S., PCP, K. Bartelmie,
 AW ADA OT:

 Summaryaf Inmate's 1824 Request:.Inmate Carroll states he can't effectively communicate. He sta~eshe hasn't received his hearing
 aids, but has been charged for them. Inmate Carrell is requesting to.receive his hearing aids.
  Interim Accommodation:
          No interim accommodation required: No Irreparable Harm
Q             Interim Accommodation provided (List accommodation and date_provided):
] RAP rescinding interim accommoda#ion:
~

                                                                                             __ _   __    _       __
FINAL RESPONSE: APPROVED


RAP is able to render a final decision on the following:
Response:_ Records :indicate. that you were seen by audiology on 217/18:and are in possession of your hearing aids. Records .also
show that your fiearing aids were on order and were issued #o you upon their arrival.


Direction if dissatisfied: If you dsagfee with this decision and want #a file an appeal, be sure fill out submi# a ~CDCR 602 or 602HC
 Blue — sections A &-B)-within 30 -days of -this-response da#e and attach a copy of this _response along with your CDCR 1824 as
supporting documents.




AW E. JORDAN                                                                   _.__ ______    __ _ :.....Date sent to inmate: 2/5/18
ADA Coordinator                                      ature




Page 1 of 1                                                                                                   RAP Response -rev 10-27-15.doac
      Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 21 of 63 Page ID #:21

                                                                                                                                     AND REHABILRATION
                                                                                                    AE~ARTMENT OF CORRECTIONS
  STATE OF CALlFORNlA                    T ._ ,.. _. :_.__-.--_ _-
                                      ES_-.-__
                       ODATION REQU
  REASONABLE ACCOMM                -~.-_
                                                                                                                                         Page 1 of 1
. CDCR 7824(Rev.09/97)            F .`
             -           _



                                                                                                                   ~~'E~ D 9 201

                                                                                        - ASSIGNMENT                           HOUSING
                                                      ~- A' CDCR NUMBER
    INMATE'S NAME (Pri.nt)
                       ~—
                           _,
                                                                     33 ~                            ~                         t,A-c ~ ~t -1 ~-3
     G'~~                                           :~
                                                                                                                           or mental disability.
                                              phys  ical  or men tal  disab ility or if you•believe you have a physical
   • You may use this form if you
                                    hav   e a                                                                           ble you to access and/or
                                                        reas  onab le acc  omm   odation which, if approved, will ena                                on.
   • You may use this form to requ
                                      est  a spec ific                                                       gation of disability-based discriminati
                             m, serv ice or  activ ity.  You   may  also use this form to submit an alle
     participate in a progra
                                       y Appeals Office.                                                        request requires acase-by-case revi
                                                                                                                                                         ew.
   • Submit this form to the Custod                      al's acco mmadatior~ request. Each individual's
                            inte nded for  an  indi vidu                                                                    resp onse .
   • The 1824 process is                                                         AH CDCR ~8~4 requests will receive
                                                                                                                          a
                                      process, not an appeal- process.                                                    , or CDCR 602-HC if you are
   • The CDCR 1624 is a request                         you  disagree with,. you may sub     mit an  app eal(CD   CR 602
                      eive d-an ~824 ,dea  sion  that
     If yorrhave-rec                                                           -       -           -
                                        nosis/treatrnerrt decision).
     disagreeing with amedical diag
                                    HAT IS THE PROBLEM?
    WHAT CAN'T YOU DO /W                           C.~        ~~




     WHY CAN'T YOU DO 1T?
                                                                                                               -
                                ~S -.         G 5J!-1


                                                                                                                                 - __,      . ___      -        _ __ -
                                                                                                                         ,
                        or~~t ,~~                                                   ~~ ~'!~'S A~                     ~
                                               ~'~Z~I +~.~ ley ~~



                                                                                                                                  spa        ce is needed)
                                                                                                (Use the bask ofthis form if more


                   A~-BAC~JM
                                    av 'fable:                           ,~~
      List and ~ttach documents, if


                                                                                                                 se this request to be disapproved.
                                                                               and m failure to cooperate may ca
        unders an       a
                                                                                                         ~ ~.
                                        c.

                                        m was provided by:
      Assistance in completing this.for      _.~
                                                                                                                             Signature                     ,-
                                          -                           First Name
        -- L            Last Name
                   Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 22 of 63 Page ID #:22
                 .Offender Details                                                  ~    Page ~ 1 of 1




                                                                                                                                   --          w

                                               Version 4.6.1.1                                                                                                      _

                     Release Note
                     Summary j Bed Inventory              ADA/EC History
                                                                                                                                    Generate Report!Get Help!Reporta Problem Log O~

                     CDC #: H733&t                                                  CDC Number: H73384, CARROLL, TREMAINE DEON
                                                                                                                          __.


                           Summary
                            Offender/Placement                                      Disability/Assistance ~                             Important Dates                              ~
                            CDC #:               H73384                            DDP Code:       NDD                                  Pending Revoeation:    No
                            Name: .              CARROLL~                          E~~Ve           10/09/2003                           Revocation Date.
                                                 TREM14INE
                                                      ,.._,., DEON                 ~a~:.                                             Date keceived io C~cR: 05/19/1993
                            tnstftution:         California S#ate                  APP yes: DPO, DNH                                                     ~   10/06/1999
                                                                                                  jHistory]                          ~~ turn Date:
-- --     - -_                                  -Prisons Los Angeles
                                                                   -- - - -        -- ---- --    __   _ _- - - -                   _ xten      tay ate: -- 1y0~/~OQ
                                                 COUr1ty                           1845 Dace: 01/19/2018
                           sed Code:             D 004 1123001E                    MHSflS       Epp                                  Extended Stay Pnvueges?
                           Placement             114                               ~°`~'                                             Release Date:           12/2$/2025
                           score:                                                  5~'        ~                                      sZo gay gate:           Q8/30/2025
                           custoay              Medium A                           r~i~tnod:                                            Next IDST Date:
                            Level•
                                                                                   Alternate
                           ~ Housing Pgm: EOP - Enhncd            Out-             Me~~~                                                Work/Vocation/PIA                ~
                                                                                   Disability:                                          1
                            Housing     Ground Floor-1~0
                            Restrictions:                                          TARE Score: 12.9
                                        Stairs,                                                                                          Group Priv:
                                        Lower/Bottom                            rAee gate: 12/16/1999                                    Group Work:
                                        Bunk Oniy                             ~ pu~~        Hearing Aid,Ey2 [Info]                       Start Date:
                          Physical      Limited Wheelchair                      M~i ` a~
                                                                                  iuipment: Glasses, Foot                                states:
                          Umitations to USer~ NO iZOOftOp ~                     ~
                        t Job/Other:                                                        01tho5e5                                     )ob Position:     ~                         ~
                        [               Work, PERMANENT                         ~asc        Read/Speak                                   yob nt~e:
                        ~               12-31-9999 Months                       AOGOm~~ _Slowly/Use                                      iwriP code:
 _ _ __                                               _                    -.__'                                  _                                                      _   _ ...
------_          _   _ -          _ _      _     _           _                         --      ---- Simple._ _        -------- -- --IWTIP Description: _ _     -    --                   _ ._ __ _ __.__
                                                                   - _                            tangnage;-Staff                                                                        __.               ~...
                                                                                                  Assistance                             work Hours:
                                                                                   Spoken
                                                                                   k.anguages:


                            Accommodation His#ory
                                10/21/20.14                          ~Clessification Hearing                  Read/Speak Slowly/Use Simple Language, Staff
                                                                                                              Assistance
                               07/22/014                             Classification Hearing ~                 Read/Speak Slowly/Use Simple Language, Staff
                                                                                                              Assistance
                               05/30/2013                            Classification +searing                  Read/Speak Slowly/Use Simple Language
                               01/10/2013                            Classifkation Hearing                    Read/Speak Siowly~'Use Simple Language
                               08/23/2012                            Classification Nearing                   Read/Speak Slowly/Use Simple Language
                               05/31/2012                            Classification Hearing                   Read/Spea~C Slowly/Use Simple Language
                               04/29/2009                            Classification Hearing                   Read/Speak Slowly/Use Simple Language, Staff
                                                                                                              Assistance




                 ti+4i~r~•~~~onir+nrr~n~~~s~r~~s nc~r~v                                                                                                                      7~0~7n~ ~i
           Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 23 of 63 Page ID #:23
                                                                                        Page 1 of 1
                                                                                             CDC #: H73384 PID #: 11690702
   dame: CARROLL, TREMAINE D.                                                               .
_.        _ _. _. ._ T-- - -                                                                                y09,2Q1807:32:48AM
                              DPP= D~sab~l~ty/Accommodat~on
                                                                                                   Friday.Februar
~HSso35B          ~
                                                                                               Time: 09:29:55
           Date of Form: 02/0702018
                 Facility: LAC-Facility D ,[LAC-D]
             Staff Name: Soliz Lisa
                                                                                        Data Source: Millennium
           Type of Form: Dureb(e Medical Equipment


    Durable Medical Equipmen#(DME)
                                                                               Expiration                Re-Evilnation
                 DME                            Duration                         Date
                                                                               12/31/9999                       No
              Hearing Aid             - -       Permanent
                                                                               12/31/9999                   ~   No
            Eyeglass Frames                     Permanent
                                                                               12/31/9999                           No
             Foot. Orthoses                     Permanent


     - Items Removed                        -
     None


     Von Formulary Accomodations/Comments
                                                              Nonce

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                                                   Show Last Undated information




                                                                                                                         2/9/2018
    f~P•~~~r•R T~Pr~/lack~le/AnnData/LocaUTemp/C07UYB4Z.htm
                Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 24 of 63
                                                                                . Page ID #:24
                                                                                             Page 1 Qf 1
                                                                                                     CDC #: H73384 PID #: 11690702
  Jame: CARROLL, TREMAINE D.
                                     ..
:Hss~sB - - -
_ ---    -  - ,~
                                 DPI D~sa~ri~ty/A~ccomm~d~t~on                                            Friday~february 09, 2A18 Q7:32:5$ Ah~


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                 Date of Form: 01/19/2018
      _                Facility: LAGFacility D [LAC-D]
                  Staff Name: 4h Beth
                                                                                            Data Source: Millennium
                 Type of Form: Accommodation Chrono


  Housing Restrictions
                                                                                        Expiration                 Re-Evaluation
                    Restriction Type                          Duration                    Date
                                                              Permanent                 12/31/9999                          No
  Ground Floor-No Stairs
                                                              Permanents                12/31/9999                          No
  Lower/Bottom Bunk Only                           ~

      Physical Limitations to lob/Other
                                                                                             Expiration              Re-evaluation
               Physical Limitations               Qualifier          Duration                - -Date
 __                               _ __ - -   --   - _         _ --- --Pei-~a~~r~t ---   - _ _ __ 2/~/~9 __                    No
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                                                                     Permanent                  12/31/9999                    No
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           items Kemovea
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      Non Formulary Accomoda#ions/Comments
                                                                   None




                                                                                                                                     2/9/2018
 f;1P•///C'~/T Tsers/lackl~/AnpData/LocaUTemp/4AW3050L.htm
       Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 25 of 63 Page ID #:25Page 1 of 1
CHSS035B -DPP Disability/Accommodation
    ,
    .                                                             CDC #: H73384 PID #: 11690702
 Name: CARROLL, TREMAINE D.
  _   _ __                                                                                         ~ February D9, 3~~.8 07c33:16,AM
                     ~,                          y/~~~~~~~.~~~~~~~FNda
.CH~S5033B               D~~            D~S~~~'~~

                                                                                         Time: 13:15:49
               Date -of form: 01/19/2018
                     Facility::LAC-Facility D [LAC-D]
                Staff Name:'Oh Beth
                                                                                  Data Source: Millennium
               Type of Form.:':DPP Verification


  DPP Disabilities
                                                               Permanent Disabilities
     Type
    Mobility         DPO-Intermittent Wheelchair User ~m~acting Placement

    Hearing          DNH-Hearing Impairment NOT Impacting Placement

     Vision
     Speech
                             _    _
     Kidneys


                                                    eech Impai           red
  - Equally Effective Communication for Hearing/Sp
  Requires Sign Language Interpreter: Undetermir~ed
                                                                                                       Language
                                 Effective Communic~ion M~t-hod

       Alternate:



  Housing Restrictions
                                                                                  Expiration                Re-Evaluation
                 Restriction Type                            Duration               Date
                                                        --                                                     ---- -         -
                                  ----------                                                                       No
   -      oor- o taus                                        ermanent
   roun
                                                                                  12/31/9999                      No
                                                             Permanent
  Lower/Bottom Bunk Only


     ~zems ~cemvv~a
   None


   Non Formulary Accomodations/Comments
                                                                 None


                                                        ~     Prior Page
                       .                                                ~




                                                                                                                          01
                                                                  is.EomisGontrollerServlet?task=commonhealthser... 2/9/2
  httns://eomis.cdcr.ca.~ov/eomis/servlet/com.marquis.eom
                  Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 26 of 63 Page ID #:26
                                                                                                                                    ~~
   ~         :i
  REASONABLE ACCOMMODATION PANEL (RAP1 RESPONSE
  RAP Meeting Date: 2/14/2018              Date IAC Received 1824: 2/9/2018              1824 Log Number: LAC-D-18-00838
  Inmate's Name: Carroll, T.                          CDCR #:H73384                  -~ Housing: D4-12~:
  RAP Staff Present: E. Jordan, AW ADA Coorclinator, Dr. T. Engeis, Psychologist, K. Estrada, A~PA inmate Appeals Office,
  ~~ rvvd
—~:
     ~~•~R~8~
            ,
                               ~~A          ~                                                                       ; A. Frazier, CCl
  CAMU, B. Velci, Office Technician, J. Buendia, Licensed Vocational Nurse, D. Denault, Medical Student, Afra, S., PCP, K. Bartelmie,
  AW ADA OT.

       Summary of Inmate's 1824 Request:. Inmate Carroll sta#es he can't effectively navigate at LAC due to Facility D not being in
       compliance with federal ADA laws.. He also states he is being denied his medical appliances due to F~im advocating for medically
       impaired inmate/patients. Inmate Carroll is requesting to have his wheelchair repaired, and to receive a walker, wheelchair gloves, a
       wheelchair cushion, and hearing aids.
       Interim Accommodation:
               No interim accommodation required: No.Irreparable Harm, Inmate has ~I DME's in his possession
       Q       Interim Accommodation provided (List accommodation and date pravid~ed~:
       ❑          RAP rescinding interim accommodation:                             __


       FINAL RESPONSE: PARTIALLY APPROVED


       RAP is able to render a final decision on the following:        ---
       Response: Areview of your request was conducted. On February 9, 2t}18, CCI Soto interviewed you concerning your request. You
       were in possession of all your DME's including your hearing aids. Records indicated that you hearing aids were on order and once
       they arrived you ;received them , February 8, 2418. Additionally CCI Soto inspected your wheelchair and it was in need of repair.
       Medical was notified and you received a loaner wheelchair an February t2, 2018. Records also. indicate that you got a wheelchair
       cushion and gloves the same day as your received your loaner. Your wheelchair has been sent out for repairs. Due to the lapse in
       time, in receiving a loaner wheelchair, gloves and cushion, this is being referred to medical for placement on the medical non-
       compliance log.


       Direction if dissatisfied: If you disagree with this decision and. want to file an appeal, be sure fill out submit a CDCR 602 or 602HC
       (Blame - s~ti~~~A-&-B~w' - rthir~30zlays-ofthis~-respons~date-and=attach-a-coRYAf- this=resPonse￼alon~wi~Yoar--CDER-~8~4
       supposing documents.                              _.                                                                                     _ 1




       AW E. JORDAN                                                                                   Date sent to inmate: 2/15/18
       ADA Coordinator                                       re
                                                     r




       p~ ~ ~ ~                                                                                              RAP Response -rev 10-27-15:docx
                 Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 27 of 63 Page ID #:27
                                                                                                                                                                                     LITATION
                                                                                                                                                           ECTIONS AND REHABI
                                                                                                                        DEPARTMENT OF CORR
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                                                                                                                                                      ..__~..~___~~__._..~....~..._.-.
    STATE OF CALIFO
                         RNIA
                                         N REQUEST
                                      IO___                                                              ____    ..~.._....,..X~._..r_._......T_~
'-                      COMMODAT__.                                                                                                                                        Page 7 of 1
      REASONABLE AC 7)"----- -__,__..
                  ev.09/1
 -- - CDCR 9824{R




                                                                                                                                                      ~$ os ~~s~
                                                                                                                                                              HOUSING
                                                                                                                ASSIGNMENT
                        int)                                ~                CDCR NUMBER                                                                       ~~ c              r Z~
       INMATE'S NAME (Pr                                                     ~~ 338
       G 1~~                                                                                                                      a physics! or mental dis
                                                                                                                                                              ability.
                                                                         me nial  dis abi lit y ar if you~beNeve you have                        yo u to ac ce ss and/or
                                       if yor e ha ve- a physical or                                           h, if ap pr oved, will enable
       • You may us    e thi s  fo rm                                          le accommod       at io n wh ic                                      y-based discrimination.
                       e  thi s fa rm  to  re qu  es4 a specific reasa~ab                  e thi s fo rm to su bm it  an allegation of disabilit
       • You may    us                                                 u may Aso us
                                      m, service or activity. Yo                                                                                                         e review.
         participate in a progra                    Ap pe  al s Off ice .                                                       l's req ue st requires acase-by-cas
                               to the   Cu st  od y                                                      t. Eac F~  ind ivi dua
       • Submit this form                                               s accommodation reques                                              e a response.
                            es  s is int  ended for an inctividuai'                                    CR  1824 requests will receiv                                    you are
       • The .1  82 4 pr oc
                                            es  t pro ces s,. not an  ap  pe al pr oc es s.   RA   CD
                                                                                                                 an   ap pe  al (C  DC R  60 2, or CDCR 602-HC if
                                i~ a  re qu                                                     u may subm    it                                                      -
       • The CDCR 1824                                             you disagree with, yo
            yo u ha ve  rec eiv   ed an 1824 deasion that                    isi on) .
       • if                                                        nent dec
                                   medical diagnosis/trea~
          disagreeing with. a
                                                                    PROBLEM?                                                                           ~ - ~ ~ ~ t~ ~~7
        WHAT CAN'T YOU
                                     D~/WHAT IS THE
                                                ~               ~r~Ur ~                    ~T cs -c~-c                          v~~
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          WHY CAN'T YOU                                                  ~~                ~ ~'                                                                   ~
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                 Assistance in Comple
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                                                                                                                                                              Signature
                                                                                           First Name
                                  Last Name
                      Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 28 of 63 Page ID1#:28
                                                                                          Page   of 1
                  Offender Details




                                                Version 4.6.1.1


                    Release o e
                      Summary           Bed Inventory ADA/EC History
                                                                                                                                        Generate Reports /Get Help!Report a Problem Log O~

                    CDC #: H73384                                                    CDC Number: H73384, CARROLL,TREMAINE DEON


                         Summary
                                                                                      Disability/Assistance                                 Important Dates
                          Offender/Placement
                                                                                     DOP Code: NDD                                      Pending Revocation:              No
                           CSC ~:                 H73384
                                                                                     Effec~ve   10/09/2003                              ttevocat~on Qate:
                           Name:.                 CARROLL~
                                                  TREMAINE DEON                      Date:                                              Date Received in CDCR: 05/19/1993
                             •
                           i~~c„aon:              California State                   aPP yes: DPO, DNH                                  ~~ Return Date:         10/06/1999
       ._ __                                                                                    (History)                                --
                    '                             Prison, Los Angeles                                                                   extended stay gate:     01/04/2000
                                                  COU11~/                            1845 Date: 01/19/2018
                                                                                                Epp                             ~       Extended Stay ~v~~eges?
                          j sed Code:             D 004 1123001E                     MHSDS
                                                                                                                                            kNease Date:                 12/28/2025
                          ~ Placement             114                                ~~:
                                                                                                                                            120 Day Date:-                     _ . 2025- -- -
                                                                                                                                                                       _.. 08/30/
                                                                                                                                                                                              -   -
— _~           ----- --_ .._~ Score:                                                 Ste: -          --                                                       - - -_
                                                                                     Primary
                            . astody        _      Medium A             ~            Metnod:                               __               Next IDST Date:
                               Level:                                                Alternate
                               Housing Pgm:        EOP - Enhncd Out-                 Method:                                                Work/Vocation/PIA
                                                                                     ~~bility:                                              1
                               Hous~ny             Ground Floor-1~0                  TARE Score: 12.9
                               Restrictions:                                                                                                 Group PrN:
                                                   StdlrS~
                                                   Lower/Bottom                      TAKE Date:      12/16/1999                              Group work:
                                                   Bunk Only                          Durable        Bearing Aid, Eye [tnfol                 start gate:
                               Pnys~cai                                               M~~`a~         Glasses, Foot                           status:
                                                   Limited Wheelchair                 Equipment:
                               Umitadons to                                                          OI'fI105eS                              Job Position:
                               yob/o~,er:          User, No Rooftop
                                                                                                                                             Job Title:
                           f                       Work, PERMANENT                    past           Read/Speak
                                                                                      Accomr~l:                                              IWTIP Code:
                                                   12-31-9999 Months                                 BIOWIy/USe
                                                                                                                                             IWTIP Description:
                                                                                                     S111ip1@                                                                                           , ,..-.
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                                                                                                     Assistance                         ~ .work Hors:

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                                                                                     ~_ Lanauaaes:                -


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                                A~.~rV~~~~~~VYi~N V~■



                                    10/21/2014                              Classification Hearing                    Read/Speak Slowly/Use Simple Language, Staff
                                                                                                                      Assistance

                                    07/22/2014                              Classification Hearing                    Read/Speak Slowly/Use Simple Language, Staff
                                                                                                                      Assistance

                                    05/30/2013                              Classification Hearing                    Read/speak Slowly/Use Simple Language

                                    01/10/2013                ~             Classification Hearing ~                  Read/Speak Slowly/Use Simple Language

                                    08/23/2012                              Classification Hearing                    Read/Speak Slowly/Use. Simple Language

                                    05/31/2012                              Classification Hearing                    Read/Speak Slowly/Use Simple Language

                                    04/292009                               Classification Hearing                    Read/Speak Slowly/Use-Simple Language, Staff
                                                                                                                      Assistance




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                     http://decinternaUc~ppv.aspx
            Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 29 of 63 Page ID #:29
                                                                                       Page 1 of 1
                                                                               CDC #: H73384 PID #: 1169070Z
arrie: CAR~LOLL, TREMAINE D.

                             DPP Disa b Iit /Acc~m rnodationFriday
                                                                                         February 09, 2018 07:32:48 AM
HSso35B.
                                                                                Time: 09:29:55
        Date ofi Form: 02/07/2418
              Facility: LAGFacility D .[LAC-Q]
         Staff Name: Soliz Lisa
        Type of Form: Durable Medical Equipment                           Data Source: Millennium



 Durable Medical Equipment(DME)
                                                                 Expiration               Re-Evaluation
               DME                        Duration                 Date
                                          Permanent              12/31/9999                      No
             Hearing Aid
                                          Permanent          ~   12/31/9999                      No
           Eyeglass Frames
                                          Permanent              12/31/9999                      No
            Foot Orthoses      ~


--Items Removed
 None


 -Non Formulary A~comodationsJComments
                                                                                            ------- - ---------- _       _---
                                                      None




                                                                                                            2/9/20~ 8
            Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 30 of 63 Page ID #:30
                                                                                       Page 1 of 1
                                                                                            CDC #: H73384 PID #: 11690702
ante: CAR~tOLL, TREMAINE D.
Hsso~-5g _                 DPP Disa biI i                    Accommo anonFriday February_ 09, 2018 07:32:58 AM
                                                                                          Time:-X3.:15:54 -
           Date of Form: 01/x.9/2018
                 Facility: I,AGFacility D [LAC-D]
            Staff Name: 0h Bet
           Type of dorm: Accamrrrodation Chrono                                    Data Source: Millennium



Housing Restric#ions
                                                                               Expiration              Re-Evaluation_
              Restriction -Type             ~          Duration                  Date
                                                       Permanent           -   __12/31/9999                   No
Ground Floor-No Stairs
                                                       Permar~ent              1231/9999                      No
Lower/Bottom Bunk Oniy

Physical Limitations to 7ob~Other
                                                                                    Expiration           Re-evaluation
            _ alLimitations
         Physic                            Qualifier          Duration                Dats     _

                                                              Permanent             12/31/9999                 No
Limited Wheelchair User
                                                              Permane~rt            12f31/9999                 No
 No Rooftop ~1/or-k


  Items Removed
 None


 Nan Formulary AccomodationsJComrnents
                                                            None




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          Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 31 of 63 Page ID #:31
                                                                                     Page 1 of 1
;HSS035B -DPP Disabilit3~/Accommodation
                                                                                                    CDC #: H73384 PID #: 11690702
lamb: CA~t~tOLL, TREMAINE D.

:H~so35B             ---     DPP Disa bil t                                com m~dationFriday               February 09, 2018 07:33:16 AM



              Date of Form: 01/19/2018                                                        Time: 13:15:49
                    Facility: LAC-Facility D [LAC-DJ
               Staff Name: O et
              Type of Form: DPP Verification                                        Data Source: Millennium



 DPP DisabilitiQs
                                                                 Permanent Disabilities                                                ,,
    Type
   Mobility         DPO-Intermittent Wheelchair User Impacfiing Placement

   Hearing          DNH-Hearing Impairment NOT Impacting Placement

    Vision
    Speech
    Kidney                                                 _



   Equally _Effective Communi~a#ion for fearing/Speech Impaired                           .
             __ -_     ___
  Requires Sign ,Language Interpreter: Undetermined          --

                                Effective Communication Method                                               Language

                                                                                                ~                                           ~
       Alternate:



 Housing Restrictions
                                                                                   Expiration                  Re-Evaluation                ~
                Restriction Type                               Duration              Date                                                   ~

                                                  ------Permanent                  1                                    Q
   roun      oor- o taus
                                                               Permanent           12/31/9999                          No                   ~
 Lower/Bottom Bunk Only


   items rcemovea                                                                                                        _
  None          ~-


  Non Formulary Accomadations/Comments
                                                                   None


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 https://eomis.cdcr.ca.gov/eomis/servlet/com.marquis.eomis.EomisControllerServlet?task=commonh
              Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 32 of 63 Page ID #:32
     •         f.
          REASONABLE- ACCOMMODATION PANEL (RAP) RESPONSE
          SAP Meefii~g Date:1Q/1712017             Date IAC Received 1824:10/1212017          1824 Log Number: LAC-D-17-05211
          Inmate's~Name: Carroll, T                          CDCR #: H73384                   Housing: D4-137
          RAP Staff Present: E. Jordan, AW ADA Coordinator, Dr. G. Hernandez, Physician &Surgeon, Dr. T. Engels, Psychologist,
          K. Edwards; Director of Nursing, M. Soto, CCI, J. Moyle, Health Care Compliance Analyst, K. Esfrada, AGPA Inmate Appeals,
          E. Minor,- Health Care Appals Coordinator Designee, M..Moyle, CME OT, A. Frazier, CAMU CCII, D. Avila, AW ADA OT, K._ Bar#elmie
          AW ADA OT.           _

          Summary of Inmate's 4824 Request: Inmate Carroll states he is unable to communicate with anyone due to his primary source being.
          reading Iips. ~He states that his property containing all of his medical appliances is at RJD. Inmate Carroll is requesting to have RJD
          forward his property, to be scheduled to see the audiologist, optometrist, and orthopedist, and to find out how LAC is designated to be
          an ADA prison because the showers and yards aren't ADA accessible.
          Interim Accommodation:
                  No interim~accommodation required: No IrFeparable Harm
                       Interim Accommodation provided (List accommoda#ion and ~a#e provided):
         Q             RAP rescinding interim accommodation:


         FINAL RESPONSE: PARTIALLY APPR01fED


           RAP is able'to rendEr a final decision on the following:
           Response: A review of your medical record indica#es tha# you were seen by your ~G~ on X0/13/17 and evaluated concerning your
           request. Your PCP referred you #o audiology..and op#ometry for evalua#ions concerning your request. Your MCP did not approve your
           request for an egg crate mattress as there no currently medical necessity for the mattress. Shou#d your condition worsen ~~ease submit
           a CDCf~ form 7362 and turn it in to medical. You will ~ seen by nurs+ng tl~e next- business day aid evaluated. CSP-LAC is a
           designated ~►DA prison and Curren#ly there is construe#ion ~a~Cfng dace to r~ak~ designated housing unit sfiowers ADA accessi~fe along
           wi#h the path of #ravel on tie fiacility. Facility `D' is next for this construction. Additionally youf festrictiot~s were reviewed a{ong with
           your current housing assignment. SAC can accommoda#e your cutren# rest~ic#ions in ~rour Curren# housing unit. Should your require
-- -------.assistance-with entering or exiting the-showers or-access to any_program on tfie fac~ity, please no#ify staff and an ~4DA worker will be._
           assigned to assis#you with your request.


         Direction if dissatisfied:. If you disagt~ee with this decision and want to file an appeal, b~ sure fill ou# submit a CDCR 602 or 602HC
         (Pink — sections A & B) within. 30 days of tfiis response dale and a~ach a copy of this response along with your CDCR 1824 as
         supposing documen#s.




         AWE. JORDAN                                                                                                 Date sent to inmate:10~20/17
         ADA Coordinator                                           re




                                                                                                                               ~;1' ~ ~ ~~~ia

         Page 1 of 1                                                                                                 RAP Response -rev 10-27-~5.docx
              Case 2:18-cv-01832-SVW-JC Document 1 Filed
                                                    r<   03/05/18 Page 33 of 63 Page ID #:33
                                                                                A
                                                                               ~                                   artment of Corrections and Rehabilitation
    State of California                                                                             ECG         LOG NUMBER (staff use onlyj:                         _.
                                                             INSTITUTION (staff use only):                                                                            -
      ._ 4SONABLE
    RE1             ACCOMMODATION
               __ _             _. ,.                                                               Y~ N                  fOJZ ~ S
    REQUEST                                                         ~ ~~. ~                                >-
    ~CDCR 1524(rev:        )                                                                                    Date Received by Staff tstaffuse- only)= ~ :~ ,
                    "*TALK TO STAFF IF 1fO~1 HAVE.AN EME
                                                                   RGENCY * * *
                                                                                                                       oc~ ~ ~ z~~
                                                       or to appeal a~ health care decision. This
      Do not use a CDCft 1624 to request health care        t a CDCR 7362 or a CDCR 602-HC.
                                                                                                                                                               ~   ~ ~ '~
                                            Inste ad, submi
      may delay your access to health care.
                                                                              SSIGNMENT                                       HOUSING
                                                      CDCR NUMBER
    INMATE'S NAME (Print)


 MISTRU~~~ONS                                                                                                   a physical or mental disability.
                                                     or mental disability or if you
 • You may use this form if you have a physical                                                  ch, if         ;owed, wi11 enable you to access and/or
                                                        reasonable accommodal
 • You may use this form to request a specific may also use this for                             it an          ~n of disability-based discrimination..
                                                    You
   participate in a program, service, or activity.
                                                Office.
 • Submit this form to the Custody Appeals                                                                                        -by-case review.
                                         indivi dual's accommodation re          .E             .; 'dual's request requires acase
 • 'the 1824 process ~s intended for an                                                          requests will receive aresponse.-- ----- -- --
                                                                                                                                                 -----
                                                      appeal process. All C
 • The CDCR 1824 is a request process, not an                                                 submit an appeal (CDCR 602. or 602-HC if you
                                                                                                                                                    are
                                                       you disa ~. e with, you
 • If you have received an 1824 decision that
                                  diagnosis/treatment decisio
            f :. g with a medical
   disagreein                                                                     C
                                    fi-tS-T HE~ROBL-EM.            _
~ ~I~A T  ATV'     TYQU  -DO- l-WHA




      WHY CAN'T YOU




      WHAT DO YOU NEED:




                                                                                              -          (use the back of this #orm if you need more space)
        I~'~~ ~~ ~TjQ              ~'~.j / ~~YJL~P fi"'►~1J [ ~yl~` ~1~-~~~ (.~i~
                                                            ur disability;that       sed you to file this request: _
      W h of the foNowing .best describes-                                                                D DifficultY talkin9~ On kidneY dialYsis
                                                       Difficul~Y seein9        Di u~Y hearin9
      II~ ifficultY walkin9 or 9ettin9 around                                                                                     Mental impairment
                                /hand s            Diffic ulty learning          Difficulty thinking or understanding
         Di#ficul ty using arms
                                                                                                                         ► ~`t ~S
                                                         5~~~ ~~ / ~%~~!~( N~ ~! ~~{~~
      ❑ Oti~er Disability (briefly describe):~
                                                                                                                     Yes         No ❑       Not Sure D
                                                                   CRIBE YOUR DISABILITY?
        DO YOU HAVE ANY DOCUMENTS THAT DES
                                                                                              ~~-f~~ ~,~~-~~~                      ~(~~
                                                                1845, 7410, 128-C):
        (List and a#tach documents if available, including:

                                                                                                                 this request                to be disapproved.
                                                                       me, and my failure to cooperate may.cause
         understand s#aff have a right to
        __          .r         /'1

                                                                                                                                  TE 51GNED
                             ,TE'S SIGNATU
       Assistance comple#ing this form provided by:                                                First Name                             Signature
                                                                     Last Name
                                Case r2:18-cv-01832-SVW-JC Document
                                                                - 1 Filed 03/05/18 Page 34 of 63 PagePage 1 of 1
                                                                                                      ID #:34
                               Offende Details
         x.                       a




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                           _                    _   ~

                                                              Version 4.6.1.1                                                                                   -


                                Release         Note
                                ...~.___......_._..._ .~..._.._.~._._...._..~.._..,_____.._......__..___..____.___-..__..__.w....__.----_----..._._...._.....       _.__._......._._._._...__. __._ ._. ~. ~................._._......._.........___.e.._...._...._.._._._...._.._._.__.......__..__...._....._..._....._.._...
                                i Summary :Bed Inventory ~ ADA/EC History
                   --~ ;              ___.                                                                                                                                                                         G~eneJate Reports l Get Help 1 Report a Problem Log O~
                 ~.
                                CDC #: H73384                              Search ;:                                       CDC Number: H73384, CARROLL,TREMAINE DEON


                                                                                                                                    -                                ---~-                   -~              --.~.__ m -~------~---.._~_~__.~__—j
                                      --Summary ---                                                                                                                                                                                                ~
                                                                                                                                                                                                        ~      ;Yrnportant Dates              --
                                            Offender/Placement                                                  !       ~ Disability/Assistance
                                                                                                                t                                                                                       ~       Pending Revocation:  No          ~ ~
                                           CDC #:         H73384                                                ~       ~ DAP Code: NDD
                                                                                                                        ~ fffecti~e 10/09/2003         ~ Revocation Date:                          ~     ~
                                          i= Name:                                                              ~~
                                      E
                                      t
                                                          CARROLL~
                                                          TREMAINE DEON                                          r        Date:                        ~ Date Received  in CflCR: ~OS/19/1 993
                                                                                                                          DPP Codes: DPO [History]     ~                          10/06/1999 ~-
                                      ~ inst~~ut~on: California Sta#e                                                                                    1astReturn Date:
                                                                                                                                                       ~                                       ~
                                                          Prison, Los Angeles                                             isas pace: 03/16/2017        ~ Extended-Stay Date:      01/04/2000 ~ ~ ~
r __ _   _            ___                       ___ _____ r~,u~tY- ----- -                                                         -                                                           ±
                                                                                                                       _ -~+~saQ ED ---—,---- -- - - -- -- ---- Stay Privileges? - -- - -      ~                                                                                                                                   - --   ----
                                                                                                                          Code:                           Extended                                 f
                                                                                                                                                                                                 ~ .
                                        • ~ Bed Code:     D 004 1137001E                                                                                                                 2025
                                                                                                                                                          Release Date:           12/~8/
                                          ! Placement             102                                                   I Ste'
                                           score:                                                                       ~ ~et~                          ~ 120 Day [date:          08/3O/2025 ~ ~
                                          ¢ Custody      Medium A                                                       ~ Alternate                                                                                     Next IDS7 Date:
                                            Level:                                                                      i Method:
                                                                                                                        I                                                                                ~
                                          i                                                                             ~ Learning                                                                       ~         ~- Work/Vocation/PIA                                                                                j j
                                          j Housing Pgm: EOP - Enhncd                             Ou#-           ~
                                                                                                                 ~         ~~sabiiity:                                                                                                                                                                                 ~ 1
                                                                  Pt Prog                                                                                                                              '
                                                                                                                                                                                                       !           ~. ~                                                                                                      ~
                                                                                                                 {       ~ TABE Score: 12.9
                                           Ho„s~rx~     -Ground f~oo~-                                           .`_                                                                                     ~          ~                                                                                           ~_
                                                                                                                     ~                                                                                                                                                                                          ": ~         ~
                                          Restrictions:
                                                        LiMited S#airs,                                           ~ [TAB ~a~: 12/lfi/1999                ~    ~~ Group Priv:
                                                        Lower/Bottom                                              ~  ~ p„~abie __ Brace-Back      {info] ~    ~~ ~~oup Work:                                                                                                                                    ~
   - -       _
                                                        Bunk Onl                                                       M~~~~      Sl.ippOrt~             ~    ~ Start Date:                                                                                                                                     {.
                                                                  y                                              I     equipment:                                  status:                                                                                                                                      ~     j
                                          Pnys~cai       Limited Wheelchair                                                       Mobili#y Ves#,
                                      t ?Limitations to User No Roofto                                                            Eye Glasses~           ~         ]ob Position:                                                                                                                                `` ~
                                                                                                                                                                                                                                                                                                                ~ ~
                                                                                                                                                                                                                                                                                                                      ?
                                                                        P                                                                                      !
                                        ; Job/Other.
                                                                                                                                  Other, Shoes,          ~    ~' Job fide:                                                                                                                                      _ ~ ~
                                                        Work, PERMANENT                                          ~
                                                                                                                     ~            Walker,                     j    iwna code:                                                                                                                                 ' 3
                                                        12-3i-9999 iNonths                                       ~
                                                                                                                 f           _    Wheelchair                 '_ IW'fIP Description:                                                                                                                           :;`"~~:
                                                                                          - - _ -___           _..--- - Last    — F~ead/Speak --- -- ---- ----~ i -Regular.Day Off: ---- ---- — --                                                                                                              ~~-'—~            --------- --
                                                                                                                     ! Accornmc                                ~ Work Hours:                                                                                                                                         1
                                      4                                                                                           S~OW~y~US@                                                    _                                                                                                                ~;                      _ _.
                                                                                                                                  Simple
                                                                                                                                  Language, Staff
                                                                                                                                  Assistance              ~                                                                                                                                                             j ~
                                                                                                                                                                                                                                               -
                                                                                                                           Spoken
                                                                                                                           Languages:


                                            Accommodation History
                                                    10/21/2014                                            Classification Hearing                                    R~ati/Speak S~owly~Use Sim~ie Language, Staff
                                                                                                                                                                    Assistance

                                                    07/22/2014                                            Classification M2a~ing                                    Read/Speak Slowly/Use Simpte Language, Staff
                                                                                                                                                                    Assistance

                                                    05/3D/2013                                            Classification Mearing                                    Read/Speak Slowly/Use Simple Language

                                                    01/10/2013                                            Classification Hearing                                    Read/Speak Slowly/Else Simple Language

                                                    08/23/2012                                            Classification Hearing                                    Read/Speak Slowly/lase Simple Language
                                                                                                          .
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                                                    04/29/2009                                            Classification Hearing                                    Read/Speak Slowly/Use Simple Language, Staff
                                                                                                                                                                    Assistance




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                               http://decintemal/dppv.aspY
                                                                                           _._Page 1 of _1_. _
              Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 35 of 63 Page ID #:35
     Name: CARROLL, TREMAINE D.                                                                         CDC #: H73384 PID~#: 11690702

     CH~So-~C''pP      -~P Disab~lit~/Qc~~nmodation Sum~naryThursdayOctobe[1.2,2017.                                            ,0:17:11AM

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                             OFFENDER/PLACEMENT                                                DISABILITY ASSISTANCE"
                                      CDC#: H73384                                                DDP Code: NDD
                                      Name. CARROLL, TREMA~NE D.                              DDP Adaptive None
                                     Facility: IAGFacility D                                Support Needs:
                         Housing Area/Bed::D 004 1/137001L                             DDP Effective Date: 10/09/2003
                           Platement Score: 102                                                  DPP Codes: DPO
                       Custody Desigr~ation~ Medium (A)                          DPP Determination Date: 03/16/2017-
                          Housing Program: Enhanced flut Patient                              MHSDS Code: EOP
                       Housing Restrictions: Ground .Floor-Limited Stairs                     SLI Required: Undetermined
                                               Lower/Bottom Bunk Only                       Interview Date: 03/16/2017
         ,Physical Limitations to Job/Other: Limited Wheelchair User                       Primary Method:
                                               No Rooftop Work                          .Alternate Method:
                                               Permanent - 12/3/9999                   Learning Disability:                              ~
                                                                                        Initial TARE Score: 12.9
                                                                   _.                    Initial TARE Date: 12/16/1999
                                                                               Durable Medical Equipment: Brace- Back Support
                                                                                                            Mobility Vest
                                                                            --
                                                                                                            Eye GI
                                                                                                          ~f er (Include in Comments)
                                                                                                            Shoes
                                                                                                            Walker
                                                                                                            Wheelchair
                                                                                        Spoken Language:



                                       IMRORTANT DATfS                                                    VilOi2K/VOC~iTION/PIA          ;
                      Date Received: 05/19/1993                                                                  Privilege Group: A
                 Last Returned Date: 10/06/1999                                                                      Work Group: D1      j
                       Release Date: 12/28/2025                                                               AM ]ob Start Date:
                       Release Type: Minimum E1~gible Parole Date                                                         Status:        ;
                                                                                                                      Position #:
                                                                                                                   Position Tine:   _.   c
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          Case
    CHSS035B   2:18-cv-01832-SVW-JC
             -DPP                       Document 1 Filed 03/05/18 Page 36 of 63 Page ID #:36Page 1 of 1
                  Disability/Accommodation
    Narne: CARROLL, TR~MAINE D.                                                                  CDC #: H73384 PID #: 11690702
i
    ~H~5o3~g -_ ..~          ~ pPP Disabi l i                    Arcco m m oti:ationThursday October:l2, 2Q17 ]~$:1~:18 AM
                   Date of Form: 03/16/2017                                                        Time: 13:22:40
                         Facility: LAC-Facility D [LAC-D]
                    Staff Name: Wu, Cheng
                   Type of Form: DPP Verification                                           Data Source: SOMS


      DPP Disabilities
         Type                                                   Permanent Disabilities

        Mobility         DPO-Intermittent Wheelchair User Impacting Placement

        Hearing
         Vision                                                                                                                                ~

        Speech                                                                                                                                 ~
         Kidney



       Equally Effective Communication for Hearing/Speech .Impaired                                                                            ~
                                                                                                                                               i

      Requires Sign Language Interpreter: Undetermined                                                                                  -      i~
                                                                                                                                                I
                                    Effective Communication Method                                             Language
            Primary:                                                  __
           Alterr~ ate
                                                                                                                                               i



      Hnusina Restrictions
                                                                                                                                            -- }
                                                                                      fxpiration
                      Restriction Type                        Duration                                            Re-Evaluation
                                                                                         Date
                                                                                                            -----_____- -_
     Ground Floor-Limited Stairs                        --   -- Permanent ------- -----12/31/9999 -- - --                    Yes _   --------;

     Lower/Bottom Bunk Only                                   Permanent               12/31/9999                             Yes


     -- Items Removed
      None


      I~[on Formulary Accamvdations/Carnments


     TimeStamp: 16 March 2017 13:23:00 --- User: Daniela Avila (AVDA005)

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                                                             Prior Page .


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               Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 37 of 63 Page ID #:37Page 1 of 1

    Name: CARROLL, TREMAINE D.                                                                                          CDC #: H73384 PID #: 11690702
                                                                                             --             -
:= ~- ~Hsso~~B- _ .. . ~             DPP D~i~a bi l i                                    t~0~"~
                                                                               A~C~~m ~~a'
                                                                                                                             Thu rsday .October 12 2017 10:17:~~ -AM ""



                    Date of Form: 03/16/2017                                                                                  Time: 13:21:22
                          Facility; LAGFacility D [LAC-D]
                      Staff Name'Wu,Cheng
                    Type of Form.; Accommodation Chrono                                                             Data Source..: SOMS


      Housing Restrictions
                                                                                                          Expiration
                        Restriction Type                                     Duration                                                    Re-Evaluation
                                                                                                            Date
      Ground Floor-Limited Stairs                                            Permanent                    12/31/9999                             Yes
      Lower/Bottom Bunk Only                                                 Permanent                    12/31/9999                             Yes                 ~

      Physical Limitations to Sob/other
                                                                                                                Expiration                 Re-evaluati'or~
               Physical Lirnitaticans               ~. Qualifier                 Duration
                                                                                                                   Date
      L-~ r~E~-ed ~IVFieelchair-use - -- ---   --   - - -- -- - -        -           Pet~a~e~t _ - -- -- _ __ J~1~99~ -----                             -. - - - -
      No Rooftop .Work                              __ ___ __. ._   ---._ _ .__ _ ---Pe-+~r~aner~t_ __ ._ _ _. _ -12/31/~9~g- .- --- - ___ __ _ _--X~s-  _ _ _ _ __ _)


      - Items Removed
      Ground Floor-No Stairs


      Non Formulary Accemodations/Comments

      LB/LT, wheelchair, no hot/sham objects, no heavy machinery, no ladders or heights.
      TimeStamp: ib March 2017 x.3:22:29 --- User: Daniels Avila {AVDAfl05)                                                                                          t

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                                                                        Prior Page


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          Case
    CHSS035B   2:18-cv-01832-SVW-JC
             -DPP
               ~
                                         Document 1 Filed 03/05/18 Page 38 of 63 Page ID #:38 Page 1 of 1
                  Disability/Accorr~modation
    Name: CARROLL, TREMAINE D.                                                                    CDC #: H73384 PID #: 11690702

:_. ~ ~H~~fl~SB. _: F         .:DP~P~ D-Asa-b~ 1~ t                    Ac~or~ rigodat~onrnursdaq~October 12, 2Q17 10:17:34 AM
               Date of Form: 01/10/2017                                                                Time: 12:07:16
                     Facility: LAC-Facility D [LAC-DJ
                 Staff Narne: Avila, Daniels
               Type of Form: Durable Medical Equipment:'                                         Data Source: SOMS


      Durable Nledicai Equipment(DME)                       _

                           DME                                                           Expiration
                                                                   Duration                                  Re-Evaluation
                                                                                           Date
                   Braze- Back Support                             Permanent             12/31/9999                  Yes
                        Mobility Vest                              Permanent             12/31/9999                  Yes
                        Eye Glasses                                Permanent             12/.31/9999          Undetermined
               Other (Include in Comments)                         Permanent             12/31/9999                  Yes
                           Shoes                                - -lJndetermined      _ - 12/31/9999          Undetermined
                          Walker                        ~        Undetermined            12/31/9999           Undetermined
                        Wheeachair                                 Permanent             12/31/9999                  Yes


      - items rcemvvea
      None


      Non Farmutary Atcvmodations/Comments


     Other: wheelcfiair cushion, wfieelchair gloves




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             Case 2:18-cv-01832-SVW-JC Document. 1 Filed 03/05/18 Page 39 of 63 Page ID #:39 Page 1 of 1
     r
 .: Name: CARROLL, TREMAINE D.                               -                                               CDC #: H73384 PAD #: 11690702
- ~_ ~Nsso3_~~
        >•     DP_~ Di~~bflity/Accom~mor~ation Su m~naryThursday~ctoberi:2;zar~~o~~:40`AM
                                                           As of: 10/12/2017 ~



                            OFFENDER/PLACEMENT                                                       DISABILITY ASSISTANCE
                                      CDC#: H73384                                                      DDP Code: NDD
                                      Name: CARROLL, TREMAINE D.                                    DDP Adaptive None
                                     Facility: LAC-Facility D                                     Support Needs:
                         Housing Area/Bed: D 004 1/137001L                                   DDP Effective Date: 10/Q9/2003
                          Placement Score: 102                                                         DPP Codes; DP0
                       Custody Designation: Medium (A)                               DPP D~termin~tion Date: 03/16/2017
                          Housing Program: Enhanced Out Patient                                     MHSDS Code: EOP
                       Housing Restrictions: Ground Floor-Limited Stairs                            SLI Required: Undetermined
                    -_                        Lower/Bottom Bunk Only                              Interview Date: 03/16/2017
         Physical Limitations- to Job/Other: Limited Wheekhair User                              Primary Method:
                                               No Rooftop Work                                 Alternate Method:
                                              Permanent - 12/31/9999                         Learning Disability:
                                                                                              Initial TARE Score: 1z.9
                                                                                               Initial TAKE Qate: 12/16/1999
                                                                                Durable Medical Equipment: Brace- Back Support
                                                                           ___ - -------- -- -- - --- -- _ _ _ - Mobilit~c V_e_s~t_
                                                                                                                  Eye Glasses
                                                                                                                  Other (Include in Comments).
                                                                                                                  Shoes
                                                                                                                  Vllalker
                                                                                                                  Wl~eelthair
                                                                                              S~o~C~en Language:



                                      IMPORTANT DATES                                                        WORK/VOCAYION/PIA
                     Date Received: 05/19/1993                                                                    Privilege Group: A
                Last Returned Date: 10/06/1999                                                                        Work Group: D1
                      Release Date: 1Z/28/2025                                                                  AM Job Start Date:
                      Release Type: Minimum Eligible Parote Date                                                            Status:
                                                                                                                        Position #:
                                                                                                        -_           Position title:
                                                                                                                 Regular Days On:




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             Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 40 of 63 Page ID #:40

  REASONABLE ACCOMMODATION PANEL RAP RESPONSE                                                                         t ~~        C
  RAP Meeting Date: 11/712017           Date IAC Received 1824:11/2/2017               1824 Log~Number LAC-D-17-05417
   n~
  Inmate's~Name: Carroll, T.                      CDCR #: It73384                      Housing:D4-137
  RAP Staff Present: E. Jordan, AW aDA Coordinator, Dr. A Blain, Chief Medical Executive,Dr. T. Engels, Psychologist, D. Oblonsky,
         •                              '   ~     ~                               '     ~       r~{~n
                                                                                                ~~~
                                                                                                                      GGi1~7~ V. IYIIIIVI~ 1 1

 Care Appeals Coordinator Designee, M. Moyle, CME OT, A. Frazier, CAMU CCII, A. Collins, M&SSI, K. Bartelmie AW ADA OT.

 Summary of Inmate's 1824 Request: Inmate Cafroll sees LAC is not in compliance with ADA guidelines, and is therefore;
 discriminating agains# mobility impaired fnma~e patients. Irrr~a~e Car~oH is requesting a medical override to RJD Donovan E=Facility,
 which has appropriate gFounds for ADA inmate patients. He is also requesting a walkeF, wheelchair cushion, and gloves to navigate
 LACs dangeroWs grounds.
  Interim Aceomr~odation:
              No interim accomnloda#ion required: No Irreparable Harm
 ❑            Interim Accommodation pFovided (Lisp accommoda#ion and date pE-ovided):
 D            RAP rescinding irrteri~ accommodation:


 FINAL RESPONSE: PARTIALLY APPROVED


RAP is able to render a final decisio~t on the following:
Response: A review of your medical record was conduced and shows that ort 1 ~f13/17 you were seen by medical and were in
possession of your wheelc~iair, cushion and gloves. Additionally your.PCP noted that you were ab{e to take showers without
assistance, feed yo~rseff wi~~ no assist~ce end RDL's without help. You cu~rerkt~~C have DRiIE receipts for a waEker and a check with
your housing staff ~nc~~cat~d that you are in possession of your walker. LAC is currently undergoing construction as part of the master
plan. This construction includes path a~ travel arourxE the yard. Facility `a' is next to begin constntction in regards to path of travel.
Additionally your current DPP status can be accommodated here at LAe, i~ your require assistance accessing programs please inform
staff and an ADA worker will be assigned ~o assist you in accessing prograt~s or areas of the yard you wish to access.


 Direction if dissatisfied: If you disagree with this decision and want to file an appeal, be sure fiH out submit a CDCR .602. or 602HC
(Pink — sections A ~& B~ within 30 days of this response date and attach a copy of this response along with your CDCR 1824 as
------'"~~---- -~ ---------1-




AW E. JORDAN                                                    ~-----                                  Date sent to inmate: 11/08/17
ADA Coordinator                                          re




                                                                                                             .
                                                                                                             ~ :..Y
                                                         _                                      ''
   ~.'               _




Page 1 of 1                                                                                 _           RAP Response -rev 10-27-15.docx
              Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 41 of 63 Page ID #:41
STATE OF CALIFORNIA                                                                                                                DEPARTMENT OFCORRECTIONS AND REHABILITATION
REASONABLE ACCOMMODATION REQUEST
CDCR 1824(Rev.09/17
                                                                                                                                                                      Page 1 of 1
 INSTITUTION (Staff use only)                                          LOG NUMBER (Staff Use Onl )                                         DATE RECEIVED BY STAFF:
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 INMATE'S NAME (Print)                                                             CDCR NUMBER                           ASSIGNMENT                             HOUSING


INSTRUCTfONS:
• You may use this form if you have a physical or mental disability or i~ you believe you have a physical or mental disability.       -
• You may use this form to request a specific reasonable accommodation which, if approved, will enable you to access and/or
  participate in a program,service or activFty. l~ou may aEso use this form to submit-are-allegation of disability-based discrimination.
• Submit this form to the Custody Appeals Office.
• The 1824 process. is intended for an ind~idual's accamr~odation request. Each individual's. request requires acase-by-case review.
• The CDCR 1824 is a request process. nat an appeal process. All CDCR 1824 requests will receive a response.
• If you have received. an 1824 decision that you disagree with, you may submit an appeal(CDCR 602, or CDCR 602-HC if you are
' disagreeing with a medical diagnosis/treatme~t decision).

 WHAT AN'T YOU                           !WHAM IS THE PROBLEM?
.-J ~~~ ~                                o .~~ c~ 'I~v~~ f                             7hvt~iv~ n1J `~h-l~.~ , ~tlb l~                         l~~ (S~1 ~I~ ~
'TABt~ o~► - ~ t~ -~ t 1~ ~~ -                                                   ;-`           -,-- ~-:~G; ~ J ~- r               I~: ,_                   _ _ .~.    . 2 ~- -- - - - _ .
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                 ^fl !T?
 WHY CAN'T YOI~ 'Y
 CS - (~~ t s ~ NAT (~ C,~ ~Y'lt ~~~' ~~                                                                       - ~~ ~ ~' ViJ?~                             -~         L,d+-~


                               ,j~~'s ~                    [ ~ J~~~r ~ ~ ~~T5
 WHAT DO YOU NEED
   j ~r                  ~ ~              1~~~ t~ o ~.-n[~~~ ,+q ~~:~ 9~ ~U r~,~                                                           ~ - ~~-C~ L ~ T ~ ZU~-c ~
    lls                   v~ ~           - G~~~~1~5     fit. ~: Dr N~  N                                                                   ~ 1 G         l~~
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  j jtil~7 tl                 ~~            t ~-                                             ~~I ~ ~ -~ tlZ.[ ti              (Use fhe back of Phis form if more space is needed)


 DO YOU HAVE DOCUMENTS THAT DESC~I~E YOUR DISABILITY?                                                                              . Yes            No ❑         Not Sure ❑
 List and attach ocuments, if available:
                   C~-~ I~1~~                  ~-'~ifi~l ~ 1

   understand that staff have a ri ht to interview ore                                                    e, and my failure to cooperate may cause this request to be disapproved,
                                                                                              s             ~v~~

                                             .INMATE'S SIGNA                                 RE                                     DATE SIGNED
 Assistance in completing this form- was provided by:


                             Last Nams                                                      first Name                                              Signature
                  Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 42 of 63 Page ID #:42
               Offender De~ai~s                                                        Page 1 of 1




                            V            Version 4.6.1.1



               :̀ Summary :Bed Inventory ADAlEC History
               w                ~rv~~.       _~            M   ~.~r~~~            ~~~~~~~          .m           ~~-~~J~~~~Generate Reports /Get Heip /Reports Problem Log Oi

               CDC #: H73384                      Sea~~~;;                         CDC Number: H73384, CARROLL,TREMAINE DEON


                             —                                                                                                            _   —         ----              f
                   ~ Summary
                   i
                      Offender/Placement                          --~         ~- Disability/Assistance
                     C~c ~:               H73384              ~   ~ DDP Code: NDD
               i ~ ~ Name:                CARROLL,            ~   ~ Effective  10/09/2003
                                          TREMAINE DEON       F   ~ Date:
              tI ~ inst~t~r~o~:           California State    ~ . ~ APP codes: DPO (History}
          . ~ ;        -                  Prison, Los Angeles     ~ 1845 Date: 10~30/201~                                {
                                          COUi'1~/                  ~         ~ MHSDS          EOP
                                                                    ~         [Code:
                   { ~     Bed Code:      D 004 1137001E
                                                                  - 1             SLI:                                   :
                       ;Placement
                   €   i Score:
                                          114
                                                                                ~ Primary
                                                                            ---1~ Method• ---- __- --    _- - - ---_ _ -- --
_ __ _ _ - -    - ~__.          _- ------------ ------ - - -----                                                      _ ~_
                           custody        Medium A                            ~                -
                                                                                Alternate
                   ~ 'Level:                                        ~         ~ Method:
                           Housin9 Pgm• EOP - Enhncd Out-                     ~ Learning                                         ...__._...___~:__ ..,T.                      ~
                                                                                                                                 •~v~r~/ ~v~.c~~~v~~/ ran     -   _._--
                   '                    Pt P~Og                     ~         €Disability:                               ~
                                                                    ~         `BABE Score: 12 9                                     1
                       € Housing          Ground Floor-No                                                                       ~.
               '         Restrictions:                                                                                          1i                                 !
                                          S~all'S~                            r TARE Date: 12~1(~1g99                           ~~ Group Priv:                     ~
                                          LOW@~~BOtt01'1'1                        Durable      Brace-B~C~4        [Info}~       ~` Group Work:
                                    Bunk Only           ~                     ;Medical                                          E ~ Start Date:                     ±.
                                                        f                         Equipment:   Su pPort~
                   ; Physical       Limited Wheelchair ~                                       Mobility Vest,            I      j sgtus:                           i':,
               ~ ~ ' Limitations to
                                    User~ No RooftoP   ~~                     ~                Eye Glasses,                    ::s Job Position:                   !':
                     yob/otne~:
                 i                  Work, PERMANENT                           ~                Other, Shoes,                    I Job Title:                       ~'
                                                                                                                                                                   t
                                    12-31-9999 Months                         ~                Walker,                          ~~ TWTIP Code:                     3
                       I
                                                                                               Wheelchair                ~     {~s IWTIP Description:              !
                                                                                                                                                                   E
                                                                                  past         Read/Speak                           Regular Day Off:               ;;
                                                                                  Accomm:                                           Work Flours:
                                                                                               S~OWIy~US@
                                                                                               Simple                                                               ~;
                                                                                            _- Laeguag~,~t        - __
                                                                                               Assistance
                                                                                  5poken                                           -:..
                                                                                  Languages:


                           Accommodation History
                                10/21/2014                      Classification Hearing                  Read/Speak Slowly/Use Simple Language, Staff
                                                                                                        Assistance
                                X7/22/2014                      Classification Hearing                  Read/Speak Slowly/Use Simpie Language, Staff
                       j                                                                                Assistance
                       S
                                05/30/2Qi3                      Classification Hearing                  Read/Speak Slowly/Use Simple Language
                                01/lQ/2fl13- .                  Classification Hearing                  Read/Speak Slowly/Use Simple Language
                       F ~ d8/23/~03.2                          Classification Hearing ~                Read/Speak Slowly/Use Simple Language
                                05/~1/2012-                     Classification Hearing                  Read/Speak Slowly/Use Simple Language
                                04/29~~009                      Classification Hearing                 Read/Speak Slowly/Use Simple Language, Staff
                                                                                                   - ~ Assistance           _                    __ _..
                                                                                                                                              ,-




                                            °,




           h~tp://decinternaUdppv.aspx                                  -                                                                                    11/2/2017
                           Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 43 of 63 Page ID #:43
                                                                                                      Page 1 of 1
        Name: CARR4LL, TREMAINE D.                                                                                 CDC #: H73384 PID #:•11690702
!CHSS035Cppp                      Disability~Accommoda:ton SummaryThursdayNovember02,2027'10:
                                                                       As of: i~l/02/2017 --~~



                                  OFFENDER/PLACEMENT                                                ~ DISABILITY ASSISTANCE
                                       CDC#: H73384                                                    DDP Code: NDD

                                          Facility: LAGFacility D                                 Support Needs:
                              Housing Area/Bed: D 004 1/137001L                              D~DP Effective Date: 1U/09/2003
                                Placement Score: 114                                                   DPP Codes: DPO
i                           Custody Designation: Medium (A)                             DPP Determination Date: 10/30/2017
                               Housing Program: Enhanced Out Patient                                MHSDS Code: EOP
                            Housing Restrictions: Ground Floor-No Stairs                            SLI Required: Undetermined
                                                    Lower/Bottom Bunk Only                        Interview Date: 14/30/2017
                           Physical Limitations to Limited Wheelchair User                       Primary Method:
                                       Job/Other: No Rooftop Work                              Alternate Method:
                                                   Permanent - 12/3!/9999                    Learning Disability:
                                                                                              Initial TABE Score: 12.9_
                                            --                     _                  -        Initial TABE Date: 12/16/1999
    ~                                                                                             Durable Medical Back Braces
    ~                                                                                                  Equipment: Mobility Impaired Disability
                     _                                                                                            Vest
          ---                                             --___.                                                  Eyeglass Frames      - - --_ _ __ --. --. --
    f                                                                                                             Other (Include in Comments)
                                                                                                                  Therapeutic Shoes/arthotics
                                                                                                                  Walkers
                                                                                                                  Wheelchair
                                                                                              Spoken Language:



                                           INfPORTANT DATES                                                        WORK/VOCATION/PIA
                          Date Received: 05/ 9/1993                                                                     Privilege Group: A
                     Last Returned Date: 10/06/1999                                                                         Work Group: Al
                           Release Date: ~2/28/Z025                                                                   AM Job Start Date:
                           Release Type: Minimum Eligible Parole Date                                                            Status:
                                                                                                                             Position #
                                                                                                                               p
                                                                                                                               -OSI~-I~+a=~l~~   - ___ _ -- - - -
    _-----__ --- ---__ _
                                                                                                                          Regular Days On:
                                                                                                                                                                    I




        ile:///C:/Users/tackle/AppData/Local/TempfFGA2YBUE.htm                                                                                   11/2/2017
                  Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 44 of 63 Page ID #:44
                                                                                            Page 1 0~ 1
'Name: CARROLL, TREMAINE D.                                                                CDC #: H73384 PID #: 11690702
                                                                                                             --
                                                                                         OThursday November 02, 2417 1D:25:34 AM
~HSSo35B                      DPP Dis~ b i 1 i-t               /ALCO~~~~~~~
              -                                   -

                  Date of Form: 03/!6/2017                 ~                                     Time: 13:21:22.
                         Facility: LAGFacility D [LAC-D]
                                     u,
                  ~'ype of Form: Accommodation Cl~rono                                   Data Source: SOMS



    Housing Restrictions
i                                                                                Expiration              Re-Evaluation
                     Restriction Type                          Duration            Date
                                                               Permanent         12/31/9999                     Yes
    Ground Floor-Limited Stairs
                                                               Permanent         12/3/9999                      Yes
    Lower/Bottom Bunk Only

    Physical Lim'stations to ]ob/Other
                                                                                    Expiration             Re-evalua-flan
           Physics! Limitations                  Qualifier         Duration           Date
                                                                   Permanent        12/31/9999                   Yes
    Limited Whee{chair User
                                                                   Permanent        12/31/9999                   Yes
     No Rooftop Work


      i~ems tcemvveQ
     Ground Floor-No Stairs


     Noy Fo~m~lary Accomo~]atians/Co~me~ts

! LB/LT, wheelchair, no hot/shard ab~ects, no heavy machinery, rro ladders ar heEghts.
j TimeStamp: 16 March 2017 (3:22:29 --- User: Daniels Avila (AVDA005)
i




                                                                                                                       11/2/201'~,
    file:///C:/users/tackle/AppData/Lacal/Terrip/RS~TRB99.htm
             Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 45 of 63 Page ID #:45
                                                                                        Page 1 of 1
,Name: CARROLL, TREMAINE D.                                                               CDC #: H73384 PID #: 1169002 .

~HSSQ~sB
     r.
                          DPP~ Qisa bil i                 Accom m~odationThursday                 November 02, 2017..10:25:17 AM



           Date of Form: 10/30/2017                                                   Time: 13:05:09
                 Facility: SAC-Facility D [LAC-D]
              a     ame: oy e oana yn
           Type of Form: AcEommodation Chrono                                   Data Source: Millennium


  Housing Restricfiions
                                                                           ~ Expiration              Re-Evaluation
               Restriction Type                        Duration                Date

 Ground Floor-No Stairs                                Permanent            12/31/9999                       No

  Lower/Bottom Bunk Only                               Permanent            12/31/9999                       No

  Physical Limitations to Sob/Other
                                                                                Expiration
          Physical Limita#ions _           Qualifier         Duration                                  Re-evaluation
                                                                                  Date-

  Limited Wheelchair User                                    Permanent          Y2/31/9999                     No

  No Rooftop Work                                            Permanent          12/31/9999                     No


   items rtemovea
  Limited Wheelchair User,No Rooftop Work,Grounct Floor-Limited Stairs,Lower~Bottom Bunk Only


  Non Forrr~ul~ry Accomodations/Cor~men~s

                                                           None
         Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 46 of 63 Page ID #:46

     REASONABLE ACCOMMODATION PANEL (RAP) RESPONSE
       RAP Meeting Date; ~412~~2017 - _        Date IAC Received 1824:10/20/2017      - 1824 Log Number: LAC=D-17-.05304
       Inmate's Name: Carroll, T.                         CDCR #: H73384               ~ Housing: D4-.137
: :. RAP Staff Present: E. Jordan, AW ADA Coordinator, Dr. G. Hernandez, Physician..: & Surgeon, Dr. .T._.:_..Engels;---Psychologist,
       I~. Edwards, Director of Nursing, M. Soto, CCI, J. Moyle, Health Care Compliance .Analyst, K. Estrada, AGPA Inmate Appeals,
    .- B: Doshna Health Care Appeals Coordinator, M. Moyle, CMS OT, A. Frasier, CAMU CCII ~ D. Avila, AW ADA OT

      Summary of Inmate's 1824 Request: Inmate Carroll states that he cannot hear see or effectively communicate. He states that he
  -~ _cannot read, write or talk to his family due to this. Inmate Carroll is requesting his property so he can retrieve his hearing aids, and be
      scheduled to receive hearing aids.
     .Interim Accommodation:
              No interim accommodation required: No irreparable Harm, currently has wheelchair
     ❑            .Interim Accommodationprovided (List accommodation and date provided):
                   RAP rescinding interim accommodation:


     FINAL RESPONSE: UNABLE TO PROCESS


     RAP is unable to process the folbwing request(s):
                  Paroled/discharged/trar~sferrEd.
                  Refused to cooperate.
                  Dupli~at~ request. See CDCR 1824 log +~:             _                                      ~ ~                    --- _

                  Other: Health Care Grievance Log #17000270 submitted on same issue


      RAP is able to render a final decision on the following:
   ~- Response: A review of your medical record it~dica#es tfiat you were seen by your PCP on 10/~ 3l17 and evaluated concerning your
      reques#. Your PCP referred you #a audiology and optometry for evaluations concerning your request. Addi#ionally your current DME
      does not include. hearing aids. ~tecords indicated that you submitted a health care grievance concerning this same issue, see log #
      HC-17000270 as a result RAP is unable to respond. Addi#ionally your allegations concerning your ~raperty being left at RJD has been
      referred to RJD for placement on their noncompliance log.


     Direction if dissatisfied: If you disagree with this decision and want to file an appeal, be sure #ill out submit a CDCR 602 or 602HC
    (Pink - sections A & B) within 30 days of this response date and attach a copy of this response along with your CDCR 1824 as
    supporting documents.




    AW E. JORDAN                                                                                           Date sent to inmate: 10/25/17
          oor ina or

                                                                                                                     ~~~ ~ j ~~~


    Page 1 of 1                                                                                                 RAP Response -rev 1027-15.docx
            Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 47 of 63 Page ID #:47
     State of Califamia                                                                                          De artment of Correct(ons and Rehabilitation
     REASONABLE ACCOMMODATION                                     INSTITUTION (staff use only):          ECG LOG NUMBER (staff use only):                  _,
     CDCR 1824(rev:           )
                                                                                                                 Date Received by Staff(siaff use only):
                          * * *TALK'TO STAFF IF YOU HAVE AN EMERGENCY * * *
       Do nat use a CDCR 1824 to re4ue~t health.care or to appeal a health care decision. This                                    ~`~ ~ ~ ~~ ~~       p


       may delay your access to healtF~ care. Instead, submit a CDCR 7362 or a CDCR 602-HC.
     INMATE'S NAM (Print)                                      CDCR NUMBER                   SSIGNMENT                          HOUSING


     INSTRUCTIONS
     • You may use this form if you have a physical or mental disability or if you belie                 a physical or mental disability.
     • You may use this form to request a specific reasonable accommodatio ; .,. ch, if                  oved, will enable you to access and/or
        participate in a program, service, or activity., - You may also use this fo
     • Submit this foRn to the Custody Appeals Office.
                                                                                          ~ bmit an aflE         ~
                                                                                                           ~n of disability-based discrimination.

     • The 1824.process is intended for an individuaPs accommodation re             .Each' 'duaf's request`requires a case-by-case review.
     • The CDCR 1824 is a request process, not an appeal process. All C r~ 8~y requests will receive a response.
     • If you have received an 1824 decision that you disa ~ e with, you ~                 submit an appeal (CDCR 602, or 602-HC if~ you are
       disagreeing with a medical diagnosis/treatment decis o                ~~                                                               ~ ~ -
                                                                                         ~ ._       _
_   ~AIktALC~LV'~~QLLDQ~I~ILH~-TES-T-f~E-PROBLEM•                                .. -4
                                                                                    ., : ~
                                                                                                                      ---~         ~~-~~~- ---- __
      ~;~ ~~1 U N)~A~ _ 1 ~ 1~                                    ~~ j                                ~0~ '7~t ~. X                 11 L~ ~t~~ _


     WHY CAN'T YOU DO IT: , v                 ~t~                           w      {-~~~~1~C7 ~I.3~~                  ~~ ~          S~

          S GDf~1                       ~/ ~ ~,             ~~.~~Tf~Ltf     t~~ ~ ~                              Y1~~ ~
     WHAT Da YOU NEED. ~' ~ ~ ~                `~1~~ ~6 5~~                            ~     A~ '   ~~~           /~~ CS~           ~ 1 L~ ST iM~
                        ~
          i L(fi ~0 ~~ ~ : , 5                           [.~-f~           o c~cal v~! l~                 ~ f~~ A~€.           fit}~ ~ o i~9 0~



           L~~~                                                                                        ruse tfie back of this #orm if you need more.space)
    W Bch of the following bes# describes y - ur disabili#y that caused you to file this reques#:
       Difficulty walking or getting afound             Difficul#y seeing       C~YDifficulty hearing   D~Di~iculty talking     O On kidney dialysis
       Difficulty using arms/hands                  Difficulty Teaming          difficulty thinking or understanding        C~~Mental impairment
    ❑ Other Disability (briefly describe):

     DO YOU HAVE ANY DOCUMENTS THAT DESCRIBE YOUR DISABILITY?                                                     Yes           No ❑       Not Sure ❑
     (List and attach documen#s if available, including: 1845, 7410, 128-C): ~~~~ f (~d•t'{~               ~l ~~


      understand staff have a right to interviewp~xamine me, and my failure to cooperate may cause t~h{s request to be disapproved.


                                                                                                                        0
                           INMATE'S SIGNATURE                                                                            'DATA SIGNED
    Assistance completing this form provided by:
                                                                     Last Name                      First Name                        Signature
                                                                    --- -- .
                Case 2:18-cv-01832-SVW-JC
                Offender Details          Document 1 Filed 03/05/18 Page 48 of 63 Page ID #:48
                                                                                        Page 1 of 1




                                                                                                               _                    ~_
                                                    Version 4.6.1.1

                    Release Note
                             ._ w                                                                              _._.....__......_.__._..__._........._..........._..._v.._._.._.._.__.._.~........__..._._.._..........._._:__.._._.._~.._._..._._~.._.__._..__....____.....__~_,._..:
                    ~ Summary ;Bed Inventory                   ADA/EC History

                                                                                                              -         - ~                                          ~        -Generate Reports /Get Help / Report a Problem Log O~

                    CDC #:              H73384.           ~Se~rch     ;                       CDC Number: H73384, CARROLL,TREMAINE DEON


                                  Su m m ary                   ------                         ---                         - -.-_                                     _____._._~.                                                          _
                                                                                                                                                                                                                                                                                       i
                     -~         ~ Offender/Placement                                    -
                                                                                        ~ Disability/Assistance                                                           ~-Important Dates
                      ~          ~                                   I                  i                                                                        ~        3                                                                                                ~
                      I            CDC #:       H73384                                  'DDP Code: NDD                                                           ~        ~ Pending Revocation:                                NO
                      I        'Name:           CARROLL~             ~                      E D~Ve         10/09/2003                                            ~        ~ Revocation Date:
                      I          ~              TREMAINE DEON                               ~ ate:
                                                                                                                                                                            Date Received ~n C~~rt:                           05/19/1993 :                                         ~
                                   inst~t~r~oo: California 5#a#e                            ~ DPP Codes:   DPO [History
                                                                                                                                                                              ~st~Return Date:                                10/06/1999 j
                             ~ ~                Prison, Los Angeles                         f 1845 Date: 0316/2017
                               `€•              COun        -       r~
                                                                                                                                                                          ~ Extended Stay Date:                               01/04/2000
                                                                       _               __     H  -- -- ~ _            — — — -- __ —              — --
                                   Bed rode:    D 004 11370D1L      ~                        ~~~                                                                              Extended StaY Privileges?
                               'Placement. 102                                               ~'                                                                               Release Date:                                   12/28/2025
                                   Score:                                          ~        ~ Mer
                                                                                                h~                                                              ~             120 Day Date:                                   08/30/2025
                                   Custody           MEdI'llR7 A                   I        ~ Alternate                                                         I~         Next IDST Date:
                                   Level:                                          ~        ~ Method:                                                           ~         _
                                                                                                                                                                                                                                                                 ' 3               ~
                                   Housing Pgm:     EOP - EnhnCd Out-              ~         teaming                                                          ;
                                                                                   i    ~ Disability:                                                         !                Work/VoCatiorf/PIA
                                                    Pt Prag
                         E        ~ Housing                                       (     `TAKE Score: 12.9                                                     !~          ~ 1                                                                                             ~ ;~
                                                    Gfiound Floor-                ;
                         ~        f Restrictions:                                 ~~    ~
                                                                                        (TABE                                                                  I         1!                                                                                                 .
                                                    Limited Stairs,                ~    ~       Date: iZ~16/1999                                                          >~
                                                                                                                                                                         (~ Group Priv:
                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                               ~
                     ~ f                            Lower/Bottom                            E Durable Brace-Bcltl(                                 jInfo]                 ~~ Group Work:
                                                                                                                                                                         j;                                                                                      °_            F
                       F                            Bunk Only                                 Med~cai
                     E ~ Physical                                                  ~    ~ Equipment: Support,                                                            (k Start Date:                                                                         i      j       ~
                                                    Limited_ Wheelchair            ;                  Mobility Vest,.                                       ji sratus:                                                                                          is
                     E            ~ Umitations to                                  i
                                   ) ob/Other.      User, No Rooftop               ~                  Eye Glasses,                                          ~~ Job Position:
                    ( ~                             Work, PERMANENT                1                  Other, Shoes,                                         ~` Job Title:                                                                                            t ~
                    !'(                             12-31-9999 Months              ~    ~             WalkEr,                                                ~ IWTIP Code:                                                                                      ,.a E ~
                                                                                   E                  Wheelchair                                        ~   ~~ IWTIP Description;                                                                               ;~     ~
                                                                          _       _    _ ~.ast - __ _ Read/Speak -                                   --- —I~--Regular Day Off: ._. _ __                                                       _._                  ~   ~ __
- - ---:- — - -- ~ i~ --- ------ -----_ ._. __._ --. _                                                                                                                   l:
                                                                                       (Accomm:
                ~    ;                                                                                     SIOWIy/U52                                                    ~~ Work Hours:                                                                               ~        ~
                     f                                                                                     Simple                                                        ~°
                                                                                                           Language, Staff
                                                                                                           Assistance                                                                                                                                                 ~
                                                                                          Spoken                                                                                                                                                                      '
                                                                                        i languages:


                                   Accommodation History
                                       10/21/2D14                             Classification Hearing                   Read/Speak Slowly/Use Simple Language, Staff
                             i                                                                                         Assistance
                             ~        07/22/20i4                              Classification Hearing                   Read~Speak Slowly/Use Simple Language, Staff
                             Is                                                                                        Assistance    -
                                      05/30/2013                              Classification Haring                    Read/Speak Slowly/Use Simple Language
                             ~        01/10/2013                              Classification HEaring                  Read/Speak Slowly/Use Simple Language
                             s
                                      08/23/2012                              Classification Hearing                  Read/Speak Slowly/Use Simple Language
                             ~        05/31/2012                              ~~~«~~icatior~ Hearing                  F~eaaT~,~ea;~ae••~.',~~A +~~e-~,~~~
                                      04/29/2009                              Classification Hearing                  Read/Speak Slowly/Use Simple Language, Staff
                                                                                                                      Assistance




             http://decinternal/dppv.aspx                                                                                                                                                                                                        10/20/2U 17
       CHSS035C
            Case-DPP  Disability/AccommodatiDocument
                  2:18-cv-01832-SVW-JC      on Summary1 Filed 03/05/18 Page 49 of 63 Page ID #:49 Page 1 of 1
       Name: CARROLL, TREMAINE D.                                                                     CDC #: H73384 PI'D #: 11690702
    .M ,CHSS03S~,   D:PR. Disability/Accommodation SummaryFrid~y-October ~o~~ ~o:~~ ~~~,                                 20,

                                                           As of: 10/20/2017



                          -__ Q~Ff,E,NDER/PLACEMENT                                         DISABILITY ASSISTANCE
                                      CDC#: H73384                                             DDP Code: NDD
                                      Name: CARROLL, TREMAINE D.                           DDP Adaptive None
                                     Facility: LAGFacility D                             Support Needs:         -
i           ~             Housing Area/Bed: D 004 1/137001L ~                       DDP Effective Date: 10/09/2003
f                          Placement Score: 102                                               DPP Codes: DPO
~                      Custody Designation: Medium (A}                         DPP Determination DatQ: 03/16,12017
                           Housing Program: Enhanced Out Patient                           MHSDS Code: EOP
                       Housing. Restrictions: Ground Fioor-Limited Stairs                  SLI Required: Undetermined
                                              Lower/Bottom Bunk Only                     Interview Date: 03/16/2017
          Physical limitations to ]ob/Other: Limited Wheelchair user                   flrimary Method:
                                              No Rooftop Work                         Alternate Method:
                                              Permanent - 12/31/9999
                                                                                    ~.earnin9 DisabilitY•                                     ~
                                                                                     initial TABE Score: 12.9
                                                                                      Initial TABS Date: i2i16i1999
                                                                            Durably Medical -Equipment: Brace- Back Support
                            _- --     ---
                                                                                                       fye Glasses
                                                                                                       Other (Ir►clude in Comments}
                                                                                                       Sfioes
                                                                                                       Walker
                                                                                                       Wheelchair
                                                                                    Spoken Language:



                                      IMPORTANT DATfS                                                WORK/VOCATION/PIA
                      Date Received: OS/19/1993                                                          Privilege Group: A
                 Last Returned Date: 10/06/1999                                                               Work Group: D1
                       Release Date: 12/28/2025                                                        AM Joti Start Date:
                       Release Type: Minimum Eligible Parole Date                                                   Status:
                                                                                                               Position #:
                                                                                                           - Position Title: -.- - ----
                                                                                                        Regular Days. On:                 s




     ~ttps://eoinis.cdcr.ca.gov/eomis/servleticom.marquis.eomis.EoniisControllerServlet?task=cornmonhealths... 10/20/2017
                                                                                                              _ __ - -- - -
                  Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 50 of 63 Page ID #:50 Page 1 of 1
         Name: CARROLL, TREMAINE D.                                                                              CDC #: H73384 PID #: 11690702

~ ._ ~~HSSo35~ , -=- ° -                 _DPP .~~sa.b_~1~t /A~c~ommodat~o-n Friday October~0,~~:~~ ~~~:~~A~-
                          Date of Form: 03/16/2017                                                                     Time: 13:22:40     ..
                                Facility: LAG Facility D [t~C-D]
t                           Staff Name: Wu, Cheng               _ ;o: F_                                                                                       -
                          Type of Form: DPP Verification      ~                                            Data Source: SOMS


          DPP Disabilities
              Type                                          -     ~         Permanent Disabilities
             Mobility ~        DPO-Intermittent Wheelchair User Impacting Placement
             Hearing
              Vision
             Speech
             Kidney



           .
           .y..vur     ~.~~~.~rNYG   ..v~~u~~u~~~a.a~~v~~ ~v~ nca~ ~~~y/ ~N~~a.0 a~~~Nan cu
          Requifi2s Sign Language Interpreter: Undetermined

                                              Effective Communication Method                                                  Language
                  Primary:
     ~           Alternate:



         Hflusing Restrictions

                          Restriction Type                                               ~          Expiration
                                                                           Duration                                            Re-Evaluation
                                                                                                      Date
         Ground floor-Limited Stairs _ -- -_ __ - _ ____ _-- ---- ------___ Permanent ----                                                    --____- ---_ _
                                                                                              _ _ . -.12/31/9999 - -- -- __----- ----- Yes
         Lower/bottom Bunk Only                                            Permanent                12/31/9999                          Yes


          • items ecemvvea
          done


         Nan Formulary /~ccomodatiansJComme~ts


         TimeStamp: 16 March 2017 13:23:00 --- User: Danie~a Avila (AVDA005)


                                                                        Prior Page




    file:/I/C:/Users/LAGKLE/AppData/Local/Temp/XSFTG2UP.htm                                                        ~     ~                10/2/2017
         Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 51 of 63 Page ID #:51

 R~AS~NA.BLE ACCOMMODATION PANEL (RAPS RESPONSE
                                                 ~.      t
 RAP Meeting Date: 40124/20.17           Date IAC Received 1824:10/2012017           1824 Log Number: LAC-D-17-05303
 Inmate's Name: Carroll, T.                  ~      CDCR #: H73384-                  Housing: D4-137
 RAP Staff Present: E. Jordan, AW ADA Coordinator, Dr. G. Hernandez, Physician &Surgeon, Dr. T. Engels, Psychologist,
 K Edwards Direr-tox of NursingTM -,~                   e;-~e~a~q-Gaye-Get~~l'
 B. Doshna, Health Care Appeals Coordinator, M. Moyle, CME OT, A. Frazier, CAMU CCII, D. Avila, AW ADA OT

 Summary of Inmate's 1824 Request: Inmate Carroll states ghat he cannot get to any places in a wheelchair, chow halt, visiting, MTA,
 CTC, law library, work out area, yard restrooms, canteen, basketball court, yard tables and showers. He further states that.the yard has
 huge cracks. Inmate Carroll is requesting tha# LAC explain why they are. not in compliance with ADA, assigned as ADA MAC
 representative, and moved to A yard as the ADA MAC representative.
  I nterim Accommodation:
             No interim accommodation rewired: No Irreparable Harm
 ❑           Interim Accor~rrnod~tion provided (List accommodation acrd date provided):
 ❑           RAP rescinding inteFim accommodation:


 FINAL RESPONSE: PARTIALLY.APPROVED


RAP 'ts able to render a fnat decision on ~~ie fallowing:
Response: LAC is currently undergoing construction as past of the master plan. This cons#ruction includes path oftravel around the
yard. Facility `D' is next to begin construction in regards to path of travel. Additionally your current DPP status can be accommodated
here at LAC, if you require assistance accessing grog-rams please inform staff and an ADA worker will be assigned to assist ~rou in
accessing- programs or areas of tt~ yard you wisk~ to access. ~► revi~~~ c; your SOMS file shows that you do not meet the criteria t~ be
housed on Facility'A' here a# LAC artd as a result that request is denied.


Direction if dissatisfied: I~ your disagree with this decision and want to file an appeal, be sure fill out submit a CDCR G02 ar 6U2HC
(Pink - sections A & B) within 30 daXs of this response date and attach a copy of this response along with your CDCR 1824 as
supporting documents.




AW E. JORDAN                                       ///~'~                                            Date sent to inmate: 10/25/17
ADA Coordinator                                    .- .




Pag21 of 1
                 Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 52 of 63 Page ID #:52

    ,,    State of California                                                                                          De artment of Corrections and Rehabilitation
          SEASONABLE ACCOMMODATION • INSTITUTION (staff use only):                                              ECG L9G NUMBER (staff use only):

          CDCR 1824(rev:
                                                                                                                       Date Received by Staff(staff use only):
                                * * *TALK TO STAFF }F YOU HAVE AN EMERGENCY
           .D~ no,~ use a CDCR 1824 to rec~uest health care or to appeal a health care decision. This                                     ~~+'~ 2~ Z~~~
            may delay your access to health care. Instead, submit a CDCR 7362 or a CDCR 602-HC.                                             ~""
          I NMATE'S NAME(Print)                                   CDCR NUIWBER            SSIGNMENT                                       HOUSING


         INSTRUCTIONS
         • You may use this form if you have a physical or mental disability or if you belie ~ o ~ . ~ a physical or mental disability.
         • You may use this form to request a specific reasonable'a~commo~atio.                `ich, if ~ oved, will enable you to access and/or
            participate in a program, service, or activity. 1(au may also use this form ~ bmit an aUeg i n of disability-based discrimination.
         • Submit this form to the Custody AppeaFs Office.
         • The 1824 process is intended for ar► individual's accommodation req         Each i ~viduaPs reque ~• equires a case-by-case review.
         • The CDCR 1824 is a request process, no# an appeal process. All C ~~             ._ requests will receive a response.
         • If you have received an 'F824 decision tk~at you disa           with, you       submit an appeal (CDCR 602, or 602-HC if you are
           disagreeing with a medical diagnosis/treatrt~ent decisio ~~ - .
          WF:AT CAN'T YOU DO / WWaT IS THE PR46EEM:                            ~                                    ~          ~~~ ~                             ~ ~ ~.I




                                                                                                                                                           ti~
                  ~ _YOU DO IT:
          WHY CAN'T                                .'       _                                          ~                         t`           ~'1~"~IV~



         WHAT DO YOU NEED:.                    ~ C                                             1J~I                                                              ~"
           ~' Ui. 1~-~~ ~                            -      C.~            cal ~ t~           ~r           ~"      G~ - '                      c~ G


                                                                     ~                    ~                 (use the back of this form if you need more space)
         W ich of the following best describes our disab't~ity that c used you to file this request:
_        ~ ifficulty walking or g.ettir~g around         Difficulty seeing     CAD'ifficulty hearing            Difficulty talking                '
                                                                                                                                            Q~ On ►udney dialysis
            Difficulty using arms/hands            Q' Difficulty teaming       Ct~.~Difficulty thinking or understanding              C~-~°Nlental impairment

         ❑ Other Disability(briefly describe
                                                                                                                                      f
          DO YOU HAVE ANY DOCUMENTS THAT DESCRIBE YOUR DISABILITY?                                                  ~ Yes q~. No D                 Not Sure.O
         (List and attach documents if available, including: 1845, 7410, 128-C):        ~             ~~ ,~~ ~~


          understand staff have a right to interview                ine me, and my failure to cooperate may cause this request to be disapproved.



                                INMATE'S SIGNAT R~                                                                              DATE SIGNED
         Assistance completing this form provided by:                   ._                                                                                            ~~:..
                                                                      Last Name                        First Name                              Signature
         Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 53 of 63 Page ID #:53
      Offender Details                                                        Page 1 of 1




                                 Version 4.6.1.1

        e ease
        ___.           ote
             __.._._...~. _.w.        ~. ; _ _ _. _.. _ _ __ _ .                ___. _.            _     _ ... _ _ _._            _           _.                            ..,...._.._w_...._...._.__...__.._.._..
        Sum mary        Bed Inventory         ADAlEC History
       ~~                                     ~~.     ~~~M~~~~M~~~~                                            V.~_                           Generate Reports./ Get Help / Report a Problem Log O~

       COC #: H73384                          ar ~;                          CDC Number: H73384, CARROLL,_TREMAINE DEON


         iSummary                                                                                                                                                                         —                  ~
                Offender/Placement--; ~ Disability/Assistance
                                                                   E

                                                                                           NDD
       '~ ~ CSC ~:                H73384                                     DDP Code:
                                                      I
           ! Name;                CARROLL,            ~                 ~ Effective        10/09/20Q3
                                  TREMAINE DEON       ~                 .Date:
               Institution:       California State    i                     ~ DPP Codes: APO (History}
                                  Prison, Las Angeles '                     ~ Y845 Date:   03/16/2017
         ~ ~                      County              ~                      MHsos         EOP
               eed rode:          D 004 1137001E      ~                      ~o~:
                                                                   ~    ~ SU:
         ~ ~ Placement            1~2
                                  --- --- _    _ _ _ _. _ __       ~   {Primary                                       _   _           _
           • Score:. -
           '                                                       ;_ — ~ Method:___ _____
---      ~ ~ Custody              Medium A                         i    ~ alternate
            ? Level:                                                    ~ Method:
            3                                                                                                                                                                                            a       ~
           'Housin P m• EOP - Enhncd Out- "                             €Learning                                                         r
                                                                                                                                               •••--~- ~••---~:-- ~•+T•
                                                                                                                                               ~~v~~~ ~va.w ~~v~i~ ran                          -
                                                                                                                                                                                                         ~
       i t          9 9    Pt Pro             !                         i Disability:                                                     i
           `•                    9            F                         E TABS Score: 12.9                                                     1
           = Housing       Ground Floor-      !                                                                                           I~
           ; Restrictions: Limited Stairs,    i,                        € TABE Date:   12/16/1999                                         i E Group Priv:
                           Lower/Bottort~                              ! ~~~abie       Brace-Back               [Info]                    ~ ~ Group Work:
                           Bunk Only                                    ~ Medical
                                                                          Ec}uipEnent: SuPport~                                           ~~ Start Date:
           'Physical       Limited Wheeichair ~                                        Mobtiity Vest,                     {               ~~ status:                                            '
       ~   ;Limitations to
                           User~ No Roaftop  'i                                        Eye Glasses,                                       ~ ~ ]ob Position:
       ~ ; ;Job/Other.
                           Work, PERMANENT                             f               Other, Shoes,                          ~              Job Title:                                             E'
                           12-31-9999 Months ~                         ~               Walker,                                             s IWTIP Code:                                            `'
                                                                       ~e              Wheelchair                                            IWTIP Description:
                                                                          past         Read/Speak                                            Regular Day Off:                                       ~
                                                                             Accomm:                                                      ~~ Work Hours:                                             '
                                                                                           S~OWIy/Use
                                                                                                                                          I€                                                        ~`
                                                                                      Simple                                              1~                                                         ,
                                                                       _~- __---- --- Language,-Sta
                                                                                      Assistance
                                                                        f Spoken
                                                                        1`Languages:


             - Accommodation History
                    10/21/2014                                 Classification Hearing            Read/Speak Slowly/l}se Simpie Language, Staff
                                                                                                 Assistance
                   07/22/2014                                  Classification Hearing            Read/Speak Slowly/Use Simple Language, Staff
                                                                                                 Assistance
                   05/30/2013                                  Classification Hearing            Read/Speak Slowly/Use Simple Language
                   01/10/2013                                  Classification'Hearing            Read/Speak Slowly/Use Simple Language
                   08/23/2012                                  Classification Hearing            Read/Speak Slowly/Use Simple Language
                   05/31/2012                                  Classification Hearing            Read/Speak Slowly/Use Simple Language
                   04/29/2009                                  Classification Hearing            Read/Speak Slowly/Use Simple Language, Staff
                                                                       ..                        Assistance




      http://decinternaUdppv.~spx                                                                                                                                                   10/2                     ~ ~7
         Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 54 of 63 Page ID #:54
CHSS035C -DPP Disability/Accommodation Summary                                       Page 1 of 1
Name: CARROLL, TREMAINE D.                                                                        CDC #: H73384 PID #: 11690?42

_ CH55035C   DPP Disability/Accommodation SummaryFridayOctober20,za~~ ~0~~~:17AM
                                                     As of: =10/20/2017 ~j


                                                                                                                                         s
                       OFFENDER/PLACEMENT                                             DISABILITY ASSISTANCE
                                CDC#: H73384                                              DDP Code: NDD                                  i
                                Name: CARROLL, TREMAINE D.                           DDP Adaptive None
                               Facility: LAGFacility D                              Support Needs:
                   Housing Area/Bed: D 004 1/137001L                           DDS Effective Date: 10/09/2003
                     Placement Score: 102                                                DPP Codes: DPO
                 Custody Designation: Medium (A)                        DPP Determination Date: 03/16/2017
                    Housing Program: Enhanced Out Patient                             MHSDS Code: EOP
                 Housing Restrictions: Ground Floor-Limited Stairs                    SLI Required: Undetermined                        ~
                                         Lower/Bottom Bunk Only                     Interview Date: 03/16/2017                          j
    Physical Limitations to Job/Other: Limited Wheelchair User                    Primary Method:
                                         No Rooftop Work                         Alternate Method:
                                         Permanent - 12/31/9999
                                                                                                                                        i
                                                                               Learning Disability:
                                                                                Initial TARE Score: 12.9
                                                                                 Initial TARE Date: 22/16/1994
                                                                     Durat~l~e NfecFicaE Equipment: Brace- Back Support                 C
                                                                                                      Mobility Vest                     ~
                                                                                                      Eye Glasses                       ~
                                                                                                      Other (Include in Comments}
                                                                      ---- -------- --___ _-- __ .-- -Shoes-- --- _._. __ _     __ -- _
                                                                                                      VlfaFker
                                                                                                      Wheelchair                        t
                                                                                Spoken Language:



                                     Il►~11PORTANT DATES                                          IA/ORKf VOCATIONJPIA
                  Date Received:   05/19/1993                                                           Privilege Group: A
             Last Returned date:   10/06/1999                                                               Work Group: D1
                                   12/28/2025                                                         AM Job Start Date:
                   Release Date:
                                   Minimum Eligible Parole Date                                                   Status:
                   Release Type:
                                                                                                              Position #
                                                                                                           Position Title:
                                                                                                       Regular Days On:




 hops://eomis.cdcr.ca.gov/eomis/servleticom.marquis.eomis.EomisControllerServlet?task=commonhealths... -~~~€~/~~It      t                    l
                 Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 55 of 63 Page ID #:55 1
                                                                                           Page of 1
                                                                                                       CDC #: H73384 PID #: 11690702
lame: CARROLL, TREMAINE D.
                                                   f~ r 1 itv /D~~r~ m m n-c~ati n n Friday October 20, 2017 10:17:2
                                                                                                                                         4 AM
~H5~03SB                 ~     I~ p Q    ~~ ~r~


                                                                                                             Time: 13:22:40
                 Date of Form: 0316/2017
                       Facility: LQG-Facifit~D ~    _ p~
                   Staff Name: Wu, Cheng
                                                                                                    Data Source: SOMS
                 Type of Form: DPP Verification


    DPP Disabilities
       Type                                                   Permanent Disabilities
-
      Mobility         DPO-Intermittent Wheelchair User Impacting Placement

      Hearing
       Vision

      Speech
       Kidney



                                                                          red                                                                       _-
     __Equally Effective_Communication for Hearing%Speech_Impai                     - -----------      _._    _         _
     Requires Sign Language Interpreter: Undetermined                                                                                           i

                                                                                                                     Language
                                   Effective Corr~municatian Method
          Primary:
         Alter=nate



    H+~using Restrictions
                                                                                            Expiration                 Re-Evaluation
                   Restriction Type                          Duration                         Date
                                                                                           12/31/9989                         Yes               !
                                                             Permanent
     Ground Floor-Limited Stairs
                                                                                           12/31/9999                         Yes               f
                                                             Permanent
_ __ Lower~ottom Bunk Only __


      Items Removed
     None


     Non Forrr3uia~-y Accomv~latior~sJ~om ments

                                                         s Avila (AVDA005)
     ~'imeStamp: 16 March 2017 13:23:00 --- User: Daniel
                                                                    ~~-~--~
                                                             Prior Page
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                                                      Show Last Undated Information




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         i                         ni}ata/LocaUTem /XSFTG2UP.htm
                      Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 56 of 63 Page ID #:56
                                                                                                Page 1 of 1
                                                                         '
                                                                                                           CDC #: H73384 PID #: 11690702
tame: CARROLL, TREMAINE D.
                                                                     Friday October2O, Zfl~~ ~fr~3                                            4AM _
`HSSo35g ~                         DPP ~-i~ab~ri~it~i /Accommodation
                                                                                                                Time: 11:02:49
                      Date of Form: 03/07/2017
                            Facilit : LAGFacilit D LAC-D]
                       Staff Nar~e: Wu, Cheng
                                                                          ~                            Data Source: SUMS
                      Type of Form: QPP Verification


     DPP Disabilities
                                                                    Permanent Disabilities
-         Type
                                                                            ment
         Mobility          DPO-Intermittent Wheelchair User Impacting Place

    - ----- Hearing
          Vision

         Speech
          Kidney



                                                         eech Impaired
    _ __ Equatfy Effective.Communication for Hearing/Sp                                                                -         ----- ----~- ----
        Requires Sign Language Interpreter: Undetermined
                                                                                                                        Language
                                       Effective Communication Method
               Primary:
              Alternate:



      Hflusing Restrictions
                                                                                                   Expiration              Re-Evaluation
                        Restriction Type                            Duration                         Date

                                                                    Permanent                      12/31/4999                    Yes
       Ground Floor-Limited Stairs
                                                                    Permanent                      12/31/9999                    Yes
     ___Ground Floor-No Stairs
                                                                    Permanent                      12/31/9999                    Yes
      Lower/Bottom Bunk Only


         items rcemovea
        None

                                                                                     -----------
       Non ~o~rn~lary A~cor~o~latio~s/Corr~n~~r~ts

                                                         a Avila.(AVDA005)
       TimeStamp: 7 March 2017 11:03:03 --- User: Daniel


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                                                                y   Prior Page
                                                                                 ~

                                                         Show last Updated Information




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               Case 2:18-cv-01832-SVW-JC Document 1 :i Filed 03/05/18 Page 57 of 63 Page ID #:57
                                                                              s
 ,c~~~ ~            -
                                                                                    S
                    NABL   E ACCOMMODATION PANEL (RAP'
                                                                                            1824 Log Number: LAC-D-17-05304
                       4

               J~leeting Date:1012~12017~         Date IAC Rec~ived~7824:10/20/2017
   ~ ~6~
     ~ ~~
                                                             CDCR #: H73384                 Housing: D4-137.
       'Mate's Name: Carroll, T.
                                                                     G. Hernandez, Physician &Surgeon, Dr. T, Engels; Psychc~(ggist,
          iZAP .Staff Present: E. Jordan, A1A1 FDA Coordinator, Dr.        Care Compliance Analyst, K. Estrada, AGPA Inmate Appe~!s,
          K. Edwards, Director of Nursing, M. Soto, GG, J. Moyle., Health Frazier, CAMU CCII, D: Avila, AW ADA OT
                                                                        A.
          B. Doshna, Health Care Appeals Coordinator, M. Moyle, CME OT,
                                                                                                                                                     he
                                                                             that he cannot hear see or effectively communicate. He states that
           Summary of Inmate's 1824 Request:~Ir~mate Carrot! states                                                                      g aids, and be.
                                                                                is requesting his property so he can retrieve his hearin
           cannot read, write or talk to his family due~to this. Inmate Carroll
           scheduled to receive hearing aids.
           Interim Accommodation:
                                                                                   ly has wheelchair
                   No intefim accommodation required: No Irreparable Harm, current
                                                                                        ed):
           ❑       Interim Accommodation provided (List accommodation and date provid
           ❑        RAP rEscinding interim accommodation:.


-- ----FINAL~fSPONS€:UNABLE-~O-~ROGESS


           RAP is unable to pt~ocess the following request{s):
                        Paroled/discharged/transferred.
                        Refused to cooperate.
                        Cuplica#a request. See CDG#~ X824 !og ~:
                                                                                       issue
                        Other: Health Care Grievance Log #17000270 s-ubr~itted on same

                                                                                                                                                            i
            RAP is able to rende    r a final decision on the #ollow ing:
                               - --         --_                _ _ --               _    -- _ - -
                                                           indica #es #~~t you were   seen by your PCP on 10/93/17 and evaluated concerning your ---
            f~Esponse: A review of your med'~cal record
                                                                                evalua#ions concerning your request. Additionally your current DME
            request. Your PCP ref~rt-ed you to audiobgy and optometry ~~r
                                                                                 ted a heath care grievance concerning this same issue, see log #
            does not include fiearing aids. Records indicated tha# you submit
                                                                                your allegations concerning your property being left at RJD has been
            HC-17000270 as a result 1~4P is unable to respond. Additionally
            fefer~ed to ftJD for placement on their non-compiianGe log.

                                                                                    to file an appeal, be sure fi(I out submit a CDCR 642 or 602HC
            Direction if dissatisfied: If you disagree witfi this decision and want
                                                                                  attach a copy of this response along with your CDCR 1824 as
           (Pink — sectrons A & B) within 30 days of this response date and
            supporting documents.




                                                                                  ------~                           Date sent to inmate: 10/25/17
            ADA Coordinator
                                                                                                                                ~~ ~ i ~~~~

                                                                                                                         RAP Response -rev 1-0-27-15.docx
            Page 1 of 1
                   Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 58 of 63 Page ID #:58
                                                                                                               J~
                        a
                                                                  ~NSTITUTlON (staff use only):         E~? LOG NUMBER (staff use only):
            t~          BLE ACCOMMODATION
                                                                                                                                           r
                                                                       ~~                                                              ~.~J
                    74(fev:
                                                                                                               Date Received by Staff (staff use only):
           }~,~~            * * *TALK TO STAFF IF YOU HAVE AN EMERGENCY"**
            D~ not use a CDCR 1824 to request health care or to appeal a health care decision. This ~.                               ~~ 2~ ~~~~
'
                      your access to health care. Instead, submit a CDCR 7362 or a CDCR 602-HC:
            .. delay
         -~ may
                                                          CDCR NUMBER          SSIGNMENT                                         HOUSING
         INMATE'S NAM (Print)
                              ~-~                                      ~~                                                        ~- ~.~ `~ r 13~'
         INSTRUCTIONS
        • You may use thisform if you have a physical or men#al disability or if you belie            ° :` : e a physical or mental disability.
                                                                                                                         wilt enable you to access and/or
        • -You may use this form to request a specific reasonable accommodatio ;; ch, if - Quad,
                                                                                   for     ~ibmit   an alle     :' n of   disability-based discrimination.
            participate in a program, senrice, or activity._ You may also use this
            Submit this form to the Custody Appeals Office.                            ~F                      ~"    ~..
                                                              accommoda tion  re ~       Each' ~ . 'duaPs    request   requires acase-by-case review.
        • The 1824 process is intended for an individual's
            The CDCR 1824 is a request process, not an appeal process. All C ~                 requests wi11 receive a ~Esponse.
        • If you have received an 1824 decision tha# you disa               with, you ~° : submit an appeal (GflCf2 602, or 602-HC if~ you are
            disagreeing with a medical diagnosis/treatment decisio
                                                                                             -        S -                   ~~              ~     ~~~~-
    -   =VIFHA'T=C~4N~1~OU-DO-~1RVk1A~-1S-Tl~E-~F~OBLEM:                            :                                                        -- - —        --
          r~ ~,nil U IJ k:              _ l r;~i-1U"~ '~               ,                         T~-fA~ ~c~ 1V1                ~~11 L~ ~tf~


                                                   .0                        ~-   ~'{~~"~~.NC"~ A~~.~?               ~~ ~              ~~
          WHY CAN'T YOU DO IT: ~


                                                                                                                          ..
                          ,e                        ~j            ]J6 5~~~~             I'1~ ~     1~ ~~                       ~S~    ~ 1 L~ ~T i~
          WHAT DO YOU NEED.                                       ~.
                                            ~:          ~ -_               Q c~.cl~ ~!I~'(               ~~~ fi~i.              ~Uj~ a            ~9 0~
             ~~tL{~ ~0 ~~
                      .~~~ ~'~                                 Nei, ~ ~oJ6               ~a~'~ ~                     ~                      ~ Jas l~


                   ~~~°'                                                                               {use the #pack ~f#his form i# you need more space)
                                                                                           this reques#:
         W ich of the following -best describes y ~ ur disabili#y that ca~ised you to file
                                                - Difficulty sing   fiYUifficulty hearing   I'sYDifficulty #alking     ❑ On kidney dialysis
           Difficulty walking or getting around
                                                Di~culty learning   ~fficulty thinking or understa~tding           fl~enial impainnen#
            ifficuliy using arms/hands
          D Other Disability (briefly describel:
                                                                                                                    Yes              No ❑      Not Sure ❑
          DO YOU HAVE ANY DOCUMENTS-THAT DESCi~IBf YOUR DISABILITY?
          (List and attach documents if available, including: 1845, 7410, 128-C): ~~..~ f ~~                ~~ ~~~


           understand staff have a right to interview                      me, and my failure to cooperate may cause this request to be disapproved.



                           INMATE'S SIGNATI~RE                                                                                 DA'

          Assistance completing this form provided by:
                                                                       Last Name                    .First Name                             Signature
         ---
{. ~ ~    Case er   2:18-cv-01832-SVW-JC
                      Details            Document 1 Filed 03/05/18 Page 59 of 63 Page Page 1 of 1
                                                                                      ID #:59
                :~s
             ~~~
           ,.                                   __                    _                                                                                                                                                                                                                                   -
                                                                                         -3 .




                                          Version 4.6.T.1 ''

          Release          Note
          ._..._.~_W..---_._.,__..r_~.._.__~......__......._......___...._._......_._~__.___..__.         .__.._.,_.._._   _.~_._....~._____.~._.~..._-.:._._~_~._._.._._.__.._...__._..,_...._...r_._.._.,_............_..,__..._.,_~.r......__....____..~..._..._.W_........,..w._.___._~..._.
          r

              Summary :Bed Inventory ~ ADA/EC History
                                    '=      - - -                                                                                                                                              Generate Repor#s I Get Help / Report a Problem Log 0~                                                      -


          CDC #: H73384                                Search:                                           CDC Number: H73384, CARROLL,TREMAINE DEON


                 Summary --                _~._                                                                                  -                   —                             --

              -~ ~ Offender/Placement
               ~ I
                   CDC #:       H73384                                                        ~
                                                                                                    ~ Disability/Assistance
                                                                                                     ~ DDP Code:                 NDD                                                  ~
                                                                                                                                                                                              }Important Dates
                                                                                                                                                                                               ~ Pending Revocation:                           1V0
                                                                                                                                                                                                                                                                                       ~{
                                                                                                                                                                                                                                                                                       ?

                                                                                              ~      ~ EfFective                10/09/2003                                            ~      ~ Revocation Date:
          4    ! ~ Name:
               ~ ~
                                CARROLL~
                                TREMAINE DEON                                                       ` Date:                                                                           ~       1~ '
                                                                                                                                                                                                 Date Received in CDCR:                        05/19/1993 s ~~
                                California State                                                    (DPP Codes: ~P~ [History]
                 ; Institution:                                                                      E                                                                                         ~ past Return gate:                             10/06/1999
                 s              Prison, Los Angeles                                           ~          ss~5 ~atec 03/16/2017                                                        ~        ~ Extended Stay Date:                           01/04/2000
                 t              County                                                                   ~Hsps      Eflp                                                                                                                                  3
                 •                   --- ---------                                             --- Code: — -- -                           ---- -             --         —                      ~- x en          -      ~r                        —          ---           - - - .
                   Bed Code:    D 004 1137001E                                                ~                                                                                                                                                           i
                                                                                                         S~~                                                                                   ~ Release Date:                                 12/28/2025 ! i
                     Placement                102                                             ~
                   y Score:                                                                              P~m~                                                                                      120 Day Date:                               08/30/2025
                                                                                                         Method:
                     Custody                  Medium A                                                 Alternate                                                                                    Next IDST Date:                                                                ~
                     Level:                                                                   ~      ~ Method:
                   t
                   f Housing Pgm:            fOP - fnhrfCd Out-                                      ~ ~eam~ng                                                                                i-Work/VOCatiorl/PIA                                                                     ~ ,
                                             Pt Pt'og           ~                                    ~ Disability:                                                                            r
                                                                                                     `: TARE Score: 1~.9                                                                       ~ 1                                                                                     ~    "s
               ~   ~ Housing                 Ground Floor-                                           ~                                                                                ~       '~                                                                               ~`
                   ; Restrictions:
          ~ ~f   ~
                                             Limited S#airs,
                                             Lower/Bottom
                                                                                                     ~E TABE Date: 12/i6/1999
                                                                                                        Durable    grace-Back                                               (ir~o)
                                                                                                                                                                                              '~
                                                                                                                                                                                              ;; Group Priv:
                                                                                                                                                                                              ~~ Group Work:
                                                                                                                                                                                                                                                                               f~'~ ;~
                                                                                                                                                                                                                                                                               ~ j ~
               ! ~                           Bunk Onl                                                   ihedical                                                                              ~ I Start Date:                                                                  i       ~
               F `                                    Y                                                  Equipment: SV pp~~~                                              - -
                                                                                                                                                                                              if status:                                                                       ~ s
          ~~     ;Physical
                 € Limitations to
               j ]ob/Other:
                                             Limited Wheelchair
                                             User, No Roof#op   ~
                                                                                                                                Mobility Vest,
                                                                                                                               .Eye Glasses,
                                                                                                                               Other, Shoes,
                                                                                                                                                                                      ~
                                                                                                                                                                                      ~
                                                                                                                                                                                              ~° Job Position:-
                                                                                                                                                                                              , Job Title:                                                                     ~;E
               ~                             Work, PERMANENT ;
                                             12-31-9999 Months                                                                 Walker,                                                             IWTIP Code:                                                                 ~~`
                                                                                                                               WheeicMair                                                      iE IWTIP Description:                                                           j
                                                          __                                                                                 (                                                                                                                                 ~       1
                                                                                                    _ ~ Last  _ ___ R@8d/SP~ak _-- _ _ ..___ f                                                 ~~ _Regular Day Off:- — -                                 --_ _
                                                                                  --                                                                                                                                                                                                               - --       ----
               ~                                                                                      ~ Accomm:                                                                                ~` Work Hours:                                                                  ~}
                                                                                                                                Slowly/.Use
                                                                                                    (                           Simple                                                 ~       ~~                                  ~                                           ~.
                                                                                                                                                                                                                        ''iaYp`

                                                                                                                                Language, Staff
                                                                                                                                Assis#ante
                                                                                                         Spoken
                                                                                                         Lan
                                                                                                               ----

                      Accommodation History
                            10/21/2014                                                Classification Hearing                                       Read/Speak Slowly/Use Simple Language, Staff
                                                                                                                                                   Assistance
                           07/22/2014                                                 Classification Hearing                                       Read/Speak Slowly/Use Simple Language, Staff
                                                                                                                                                   Assistance
                           05/30/2013                                                 Classification Hearing                                       Read/Speak Slowly/Use Simile Language
                           01/10/2013                                                 Classification Hearing                                       Read/Speak Slowly/Use Simile Language                                                                                           i
                           08/23/2012                                                 Classification Hearing                                       Read/Speak Slowly/Use Simple Language
                                                                                      Classification Hearing                                       Read/Speak Slowly/Use Simple Language
                           04/29/2009                                                 Classification Hearing                                       Read/Speak Slowly/Use Simple language, Staff
                                                                                                                                                   Assistance




         http://decintenlal/dppv.aspx                                                                                                                                                                                                                               10/20/2017
       _            - -
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       Case
        ~-   2:18-cv-01832-SVW-JC
           DPP  Disabi  lity/Accommodation Summary 1 Filed 03/05/18 Page 60 of 63 Page ID #:60Page 1 of 1
                                         Document
                                                                                -    '

                                                                                                                    CDC #: H73384 P3fl #: 11690702
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 f1~.a~ttQ:                            LL, TREMAINE D.
                                                                                                    ~u~_m'ar~FridayOcMber20,201710:17:17AM
                                                                t~~n
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_- ~                                   ~~ D~~~~~~~~y/ACC~~~~
       ~;~~                                                            As of: `10/20J2-017   ~



                             OFFENDER/PLACEMENT                                                         DISABILITY ASSISTANCE
                                       CDC#: H73384                                                        DDP Code: NDD
                                       Name: CARROLL, TREMAINE D.                                      DDP Adaptive None
                                      Facility: LAC-Facility D                                       Support Needs:
                                                                                                 DDP Effective Date: 10/09/2003
                          Housing Area/Bed: D 004 1/137001L                                                DPP Codes: DPO
                           Placement Score: 102
                       Custody Designation: Medium (A)                                      DPP Determination Date: 03/16/2017
                                                                                                        MHSDS Code: EOP
                           Housing Program: Enhanced Out Patient                                        SLI Required: Undetermined
                        Housing Restrictions: Ground Fioor-Limited Stairs                            Interview Date: 03/16/2017
                                                dower/Bottom Bunk Only
                                           er:  Limited Wheelchair User                             Primary Method:
           Physical Limitations to Job/Oth
                                                No Rooftop Work                                    Alternate Method:
                                                Permanent - 12/31/9999                           Learning Disability:
                                                                                                  Initial TABE Score: 12.9
                                                                                                   Initial TABE Date_: 12/16/1999
                                                                                         Durable Medical Equipment: Brace- Back Support
                                                                                                                       Mobility Vest
                                                                                           - _-_                       Eye Glasses       - --
                                                                                                                       Other (Include in Comments)
                                                                                                                       Shoes
                                                                                                                       Walker
                                                                                                                       Wheelchair
                                                                                                  Spoken Language:



                                                        IMPORTANT DATfS                                                WORK/VOCATION/PIA
                                                                                                                              Privilege Group: A
                                       Date Received: 05/19/1993                                                                   Work Group: D1
                                  Last Returned Date: 10/06/1999                                                            AM Job Start Date:
                                        Release Date: 12/28/2025.                                                                       Status:
                                        Release Type: Minimum eligible Rarole Date                                                   Position #:
                                                                                                     _ _ __   _ _ _ _. __ _   ___ Position Title: _   - _.
                                                                                                                             Regular Days On:




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   l~ttps://eomis.cdcr.-ca.gov/eomis/servlet/coin.marquis.eomis.EomisContr
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                         Case 2:18-cv-01832-SVW-JC Document 1 Filed 03/05/18 Page 61 of 63 Page ID #:61Page 1 of 1
                                                                                                                   CDC #; H73384 PID #: 11690702 ,
'    Nar~ne:                       LL, TREMAINE D.
                        ~~
b -- Y    ,.P h              ~ ~     'e        _   D~~-`~~sab~I~t                   /~ccar~~od~ati~.~                      FridayOctober-20,201710:17,;24-RM

          ~~
                   a.
                                                                                                                        Time: 13:22:40
                                    Date of Form: 03/16/2017
                                           Facility: LAGFacility D [LAC-D]
                                      Staff Name: Wu, Cheng
i                                                                                                              Data Source: SOM5
                                   -'type of Form: DPP Verification
j


          DPP Disabilities
                   Type                    -                                        Permanent Disabilities

                  Mobility                DPO-Intermittent Wheelchair User Impacting Placement

                  Hearing
                   Vision
                                                                                                                                                                 ~
                  Speech
                   Kidney                                      _



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                  ~yua~~y ~~~ca.uv~ ~.ain~rnun~~a~~~~~ ~v~ naa~~~~a~~~N~c~.~~ i~~~Nanz
            Requires Sign .Language Interpreter: -Undetermined

                                                     Effective Communica~~on Method                                               Language
                         Primary:
                        Alternate:



          tfousing Restrictions
                                                                                                           Expiration              Re-Evaluation
                                     Restriction Type                              Duration                  Date
                                            --_ _             __ _ - - _     - --- Permanent _ _ --- -----12/31/9999 - _ __            - -_ Yes - _ ___- _ _ .
          Ground Floor-Limited Stairs -- --
                                                                                  Pefmanen~                12/31/9999                       Yes
          Lower/Bottom Bunk Only -

                                                                                                                    -                  --
                  Items ~Kemovea
                  ~ne


           Non Formulary Accomoda~ians/Comments


          TimeStamp: 16 March 2017 13:23:00 --- User: Daniels Avila (AVDA005)
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                                                                             ~    Prior Page,         ~
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